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                                 EXHIBIT 7

                 Third Amended and Restated Engagement Letter
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 Execution Version



 October 7, 2020                                                                                              ®
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 Financial Oversight and Management Board for Puerto Rico
 By Email Transmittal
 Attention: Natalie A. Jaresko, Executive Director


 Third Amended and Restated Engagement Letter between Citigroup Global Markets Inc. and the Financial
 Oversight and Management Board for Puerto Rico
 Dear Sirs:
 It is hereby agreed that this letter agreement (this "Agreement") shall serve as a third amended and restated
 agreement (the "Third Amended Agreement," also referred to herein as "this Agreement") that shall
 replace, in its entirety, but only upon its effective date, the agreement entered into between the Financial
 Oversight and Management Board for Puerto Rico (the "Board") and Citigroup Global Markets Inc.
 (together with its successors and permitted assigns, "Citi") on February 13, 2019 (the "Second Amended
 Agreement"), such Second Amended Agreement having replaced, in its entirety, the agreement entered into
 between the Board and Citi on February 13, 2018 (the "First Amended Agreement"), such First Amended
 Agreement having replaced, in its entirety, the agreement entered into between the Board and Citi on
 January 27, 2017 (the "Original Agreement"). The effective date of this Third Amended Agreement shall
 be October 7, 2020.
 Overview
 Citigroup Global Markets Inc. is pleased to accept our continuing appointment by the Board, established
 under the Puerto Rico Oversight, Management, and Economic Stability Act, 48 U.S.C. Chapter 20
 ("PROMESA"), to serve as investment banker and financial advisor to the Board in connection with the
 Board's statutory duties under PROMESA and its task of working with the people and government ofPuerto
 Rico (the "Commonwealth") to create the necessary foundation for economic growth and to restore
 opportunity to the people of Puerto Rico, including working as the Board's exclusive strategic mergers and
 acquisition adviser to render certain strategic advisory and investment banking services related to the
 potential sale or restructuring of Puerto Rico Electric Power Authority (the "Company"). Citi welcomes the
 opportunity to bring our expertise in municipal finance, capital markets, restructuring (both in and out of
 court), infrastructure and utility finance, and mergers and acquisitions and strategic transactions advisory
 services to bear in assisting the Board in seeking to provide the Commonwealth with the necessary tools to
 restructure its debt, access the capital markets, consider certain potential strategic transactions related to the
 Company and get back on a path to economic recovery. The terms and conditions of Citi's continuing
 appointment are set forth in this Agreement. The term "Commonwealth" as used in this section shall include
 its "covered entities" (as defined below).
 Scope of Services
 In connection with this engagement, Citi will offer the services set forth below:
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     1. Evaluate the Commonwealth's current fiscal situation, and interface with the Board and its other
        professional advisors in connection therewith;
     2. Review and evaluate the Commonwealth's capital structure and advise the Board on possible
        restructuring strategies (including developing financing and debt issuance models and alternatives)
        and in negotiating with the Commonwealth and the Commonwealth's creditors;
     3. Advise the Board on the Commonwealth's ability to access the capital markets, including providing
        advice on market strategy;
     4. Undertake discussions on behalf of the Board with rating agencies, creditors, and other third parties
        as requested by the Board;
     5. Perform such other investment banking and financial advisory services as the Board may
        reasonably request in connection with this engagement, including providing testimony in
        connection with the services provided under this Agreement; and
     6. Citi will perform such strategic advisory and investment banking services for the Board as are
        customary and appropriate in identifying, evaluating and/or implementing various strategic or
        financial alternatives for the Company (including advice on the structure, negotiation strategy,
        valuation analyses, and other financial matters, and, along with the Company's other advisors, on
        solutions that support grid resiliency and environmental sustainability) that the Board reasonably
        requests (collectively, the "Services"). Such Services will include providing advice on the structure
        and terms of a long-term concession agreement involving the Company's power transmission and
        distribution assets as well as providing advice in connection with a potential "privatization"
        involving the Company's power generation assets (each of which, for clarity, shall be deemed to
        constitute a "Transaction," collectively "Transactions," as defined below).
 In particular, Citi will perform such of the following strategic advisory and investment banking services as
 the Board may reasonably request:
     a Citi will familiarize itself to the extent it deems appropriate and feasible with the business,
        operations, properties, financial condition and prospects of the Company (provided that the Board
        shall remain responsible for conducting appropriate due diligence with respect to any Transaction
        hereunder); and
     b. Citi will perform such strategic advisory and investment banking services in connection with the
        proposed Transaction as are customary and appropriate in transactions of this type (including
        advice on the structure, negotiation strategy, valuation analyses, financial terms and other financial
        matters). For purposes of this Agreement, "Transaction" means, whether in one or a series of
        transactions, the sale, transfer or other disposition, directly or indirectly, of all or a significant
        portion of the business, assets or securities of the Company, whether by way of a merger or
        consolidation, reorganization, restructuring, negotiated purchase, leveraged buyout, minority
        investment or partnership, collaborative venture or otherwise, long-term concession, lease
        agreement or operating agreement or similar "privatization" transaction, or any other extraordinary
        corporate transaction involving the Company.
     c. The Services shall expressly exclude any advice or recommendations related to the issuance of
        municipal bonds or any municipal financial products. All Services rendered hereunder will be
        provided exclusively to the Board and not to the Company.
 Moreover, Citi will not be responsible for setting the scope of or for reviewing the Company's or the Board's
 due diligence exercise but, will coordinate the Board's other advisers in carrying out such exercise, as
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 requested by the Board. Furthermore, the Board will remain solely responsible for the commercial
 assumptions on which any strategic advice provided by Citi is based and for the decision to proceed with
 any Transaction.
 Fees
 The fees to Citi under this Agreement shall include the following:
     1. commencing on the date of the Original Agreement and continuing until, but excluding the effective
        date of the Second Amended Agreement, a fixed monthly retainer of $250,000, payable monthly
        in arrears (upon the submission of monthly invoices), and, thereafter, until termination of this Third
        Amended Agreement, a fixed monthly retainer of $900,000, payable monthly in arrears (upon the
        submission of monthly invoices) (such retainer payments to be pro-rated for any partial month),
        plus

     2. commencing on the date of the Original Agreement and continuing until, but excluding the effective
        date of the Second Amended Agreement, a success fee equal to 0.0333% of the greater of the par
        amount of any bonds (A) issued by the Commonwealth or any of its agencies, authorities, public
        corporations or instrumentalities ("covered entities") 1 as part of a PROMESA related restructuring,
        for the avoidance of doubt, excluding any bonds issued in connection with any bonds restructured
        under clause B below, or (B) restructured as part of a PROMESA related restructuring (calculated
        by multiplying 0.000333 times the restructured bond par amount), in each case, without duplication,
        and subject in all cases to an aggregate success fee cap of$10 million. A success fee shall be due
        and payable upon each successful closing of all or a portion of a debt restructuring of the existing
        debt of the Commonwealth and its covered entities, whether accomplished pursuant to Title III or
        Title VI of PRO MESA or otherwise, and whether completed in a single transaction or multiple
        transactions, but in all cases subject to the aggregate success fee cap referenced above; and,
        thereafter, until termination of this Third Amended Agreement, no success fee shall be payable
        under this paragraph 2 for work on bond restructurings, except that, for the avoidance of doubt and
        regardless of the effective date of the Second Amended Agreement or this Third Amended
        Agreement, the Board and Citi agree that Citi shall be entitled to receive the success fee described
        in clause (B) of this paragraph in connection with its work prior to the effective date of the Second
        Amended Agreement or this Third Amended Agreement on restructuring the par amount of prior
        bonds restructured in both the GDB Title VI restructuring and in the COFINA Title III
        restructuring; in addition, for the avoidance of doubt, Citi also shall be entitled to receive all fees
        set forth under paragraphs 3 and 4 herein related to the Services, plus

    3. Commencing on the date of the First Amended Agreement and continuing until termination of this
       Third Amended Agreement, in connection with the Services, an additional fixed monthly retainer
       of $400,000 payable monthly in arrears (upon the submission of monthly invoices), plus


         1 1'Covered entities 11 are those identified by the Board in its list of Initial covered entities subject to oversight

         under the PROMESA Act" posted on November 18, 2016 on the Board's website
         (https:/.ijuntasupervision.pr.0:ov/wp-content/uploadch')JIBLiQf58345e7a9bd5a.n�t0-
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    4. in connection with Services relating to Transactions for the Company, Citi shall be paid an
       aggregate cash fee in the amount of $21.5 million, which amount is equal to the total fee payable
       to Citi for such Transactions of $24 million less $2.5 million already paid under clause 3 above
       which the parties agree shall be credited against the total fee for Transactions, payable in the
       following manner:

        (a) For the execution and implementation ofthe Puerto Rico Transmission and Distribution System
            Operation and Maintenance Agreement by and among the Company, the Puerto Rico Public­
            Private Partnerships Authority, LUMA Energy LLC, and LUMA Energy ServCo LLC dated
            as of June 22, 2020 relating to the transmission and distribution system of the Company, Citi
            shall be paid the sum of $13,975,000 in cash, in two installments as follows: (i) the sum of
            $9,083,750 shall be paid to Citi promptly upon entry of an order of the U.S. District Court for
            the District of Puerto Rico administering the Company's Title III case (the "Title III Court")
            allowing all accrued and unpaid "front-end transition" obligations of the Company to LUMA
            Energy LLC, and LUMA Energy ServCo LLC as an administrative expense priority claim
            under section 503 of the Bankruptcy Code; and (ii) the sum of$4,891,250 shall be paid to Citi
            promptly upon the effective date of a plan of adjustment for the Company under Title III of
            PROMESA. For the avoidance of doubt and notwithstanding anything to the contrary
            contained in the Second Amended Agreement, payment of the foregoing fees shall be subject
            to allowance thereof by the Title III court in accordance with the requirements of PRO MESA
            and applicable orders of the Title III Court regarding compensation and reimbursement of
            professionals, but the payment of such fees shall not be (I) subject to or conditioned upon any
            other court order or approvals other than as set forth in this subsection (a), or (II) delayed by
            any potential or pending court proceedings related to the Transactions.

        (b) For a Transaction or Transactions relating to the electric power generation assets of the
            Company (each, a "Generation Transaction"), Citi shall be paid the sum of$7,525,000, which
            amount shall be allocated to each Generation Transaction on a pro rata basis, based on the
            proportion of the generation capacity of the assets subject to each Generation Transaction to
            the generation capacity of all of the Company's power generation assets, calculated based on
            generation capacity as of a date to be agreed to by the parties in good faith. Such fees shall be
            payable for each Generation Transaction upon the later to occur of(i) the "Consummation" of
            such Generation Transaction, and (ii) entry of any final, non-appealable order(s) of the Title III
            Court required for the Consummation of such Generation Transaction, as applicable, under the
            provisions of PROMESA and/or the definitive documents with respect to such Generation
            Transaction(s). For the purposes of this subsection (b), "Consummation" shall mean (A) the
            effective date of any sale of the Company's power generation assets, or (B) the assumption of
            control over the maintenance and operation of any of the Company's power generation assets
            under any management agreement, concession agreement, or similar Transaction. For the
            avoidance of doubt and notwithstanding anything to the contrary contained in the Second
            Amended Agreement, if the fee described in this subsection (b) becomes payable prior to the
            effective date of a Title III plan of adjustment for the Company, payment thereof shall be
            subject to allowance by the Title III court in accordance with the requirements of PROMESA
            and applicable orders of the Title III Court regarding compensation and reimbursement of
            professionals.
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 Notwithstanding anything to the contrary herein, payment of fees (including retainer and success fees) and
 expenses hereunder is subject to (I) in the case of fees payable under clauses 2 and 4, issuance of a final,
 non-appealable and unconditional order of the court (whether under Title III or Title VI of PROMESA, as
 applicable) approving the Transaction giving rise to such fee and (2) in the case of fees payable under
 clauses 1 and 3, as well as expenses payable hereunder, compliance with the court order setting procedures
 for interim compensation and reimbursement of professionals, to the extent applicable.
 Expenses
 The Board agrees to reimburse Citi, upon request, for all our reasonable, documented out-of-pocket
 expenses directly related to this Agreement (commencing on the date of the Original Agreement) including
 but not limited to reasonable fees and expenses of a single outside counsel to Citi on a monthly basis, upon
 submission to the Board of an invoice or invoices. Such reimbursement of direct expenses shall be subject
 to an annual aggregate cap (commencing on the date of the Original Agreement, but except for expenses
 pursuant to Indemnification hereunder and legal expenses related to Citi's outside counsel) of $375,000 (the
 "Annual Cap"), subject to modification by mutual agreement of the parties hereto. For clarification, any
 expenses relating to the Transaction outside of Citi's direct Services provided herein (e.g. dataroom
 providers, potential site visit travel and logistics, etc.) shall not be subject to the Annual Cap and shall be
 accrued to the Board or the Company, as appropriate. If for any reason Citi's reasonable and approved
 expenses might exceed the Annual Cap, the Board agrees to consider increasing the Annual Cap to an
 appropriate level, based on information provided by Citi.
 Conditions
 This Agreement is not a commitment, express or implied, on the part of Citi to underwrite or purchase any
 securities or to commit any capital, nor does it obligate us to enter into an underwriting agreement, dealer
 manager agreement or similar commitment. Citi's participation in any financing transaction will be subject
 to, among other things, (i) satisfactory completion of all documentation for the transaction (including, but
 not limited to, one or more disclosure documents and a dealer manager agreement, other documents
 necessary to the consummation of a tender or exchange offer); (ii) satisfactory completion of a customary
 due diligence review; (iii) in our determination, the absence of any material adverse change in the fmancial
 markets or in the financial condition, operations or prospects of the issuer, taking into account their current
 fmancial condition; (iv) receipt of all required governmental and other approvals and appropriate legal
 opinions, including a l0b-5 disclosure opinion delivered by counsel acceptable to the issuer and otherwise
 in form and substance acceptable to Citi and its counsel and (v) approval of our internal credit and
 commitment committees.
 Use of Information
 The Board recognizes and confirms that Citi in acting pursuant to this engagement will be using publicly
 available information and information in reports and other materials provided by others, including, without
 limitation, information provided by or on behalf of the Company and/or the Board, and that Citi does not
 assume responsibility, for and may rely, without independent verification, on the accuracy and
 completeness of any such information. The Board agrees to use reasonable best efforts to cause the
 Company to warrant that any information related to the Company, or its affiliates, or the Transaction that
 is furnished to Citi by or on behalf of the Company will be true and correct in all material respects and not
 misleading by omission or otherwise and that every statement of opinion, intention or expectation therein
 will be honestly held. The Board agrees that any information or advice (other than any information or advice
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 relating to the U.S. tax treatment and U.S. tax structnre of any Transaction) rendered by Citi or any of its
 representatives in connection with this engagement is for the confidential use of the Board only in its
 evaluation of a Transaction and the Board will not, and will not permit any third party to, use it for any
 other purpose or disclose or otherwise refer to such advice or information, or to Citi, in any manner without
 Citi's prior written consent.
 Certain Acknowledgments
 In connection with the Services, the Board acknowledges that Citi has been retained hereunder solely as a
 financial adviser to the Board, and not as an adviser to or agent of any other party, and that the Board's
 engagement of Citi is as an independent contractor and not in any other capacity including as a fiduciary.
 Citi may, to the extent it deems appropriate, render the Services hereunder through one or more of its
 affiliates. Any duties that arise out of this agreement or Citi's engagement will be owed solely to the Board,
 and neither this engagement, nor the delivery ofany advice in connection with this engagement, is intended
 to confer rights upon any other parties (including security holders, employees or creditors of the Board) as
 against Citi or its affiliates or their respective directors, officers, agents and employees. Citi may, after
 public announcement of a Transaction and at its own expense, place announcements or advertisements in
 financial newspapers, journals and marketing materials describing Citi's services hereunder.
 The Board understands that Citigroup Global Markets Inc. and its affiliates (together, the "Group") are
 engaged in a wide range offinancial services and businesses (including investment management, financing,
 securities trading, corporate and investment banking and research). In recognition of the foregoing, the
 Board agrees that the Group is not required to restrict its activities as a result of this engagement, and that
 the Group may undertake any business activity without further consultation with or notification to the
 Board, except as specifically set forth in the "No Conflict oflnterest" section ofthis Agreement. Subject to
 the last sentence of this paragraph, neither this Agreement, the receipt by the Group of confidential
 information nor any other matter shall give rise to any fiduciary, equitable or contractual duties (including
 without limitation any duty of trust or confidence) that would prevent or restrict the Group :from acting on
 behalf of other customers or for its own account. Furthermore, the Board agrees that neither the Group nor
 any member or business ofthe Group (other than Citi as specifically set forth in the "No Conflict oflnterest"
 section of this Agreement) is under a duty to disclose to the Board or use on behalf of the Board any
 information whatsoever about or derived :from those activities or to account for any revenue or profits
 obtained in connection with such activities. However, consistent with the Group's long-standing policy to
 hold in confidence the affairs of its customers and the obligations imposed by its own policies and
 procedures, the Group will not use confidential information obtained :from the Board except in connection
 with its services to, and its relationship with, the Board.
 The Board and Citi acknowledge that all of the services to be performed by Citi under this Agreement are
 solely for or on behalf of the Board. Neither the Commonwealth nor any of its covered entities shall be a
 client or recipient of direct or indirect advice of Citi under this Agreement. It is Citi's understanding that
 the Board does not constitute a "municipal entity" or "obligated person" as such terms are defined under
 the Securities and Exchange Commission's Municipal Advisor Rule (the "MA Rule"). As such, it is Citi's
 understanding that Citi is not acting as a "municipal advisor" (as defined in the MA Rule) or fiduciary to
 the Board or any other party hereunder. The Board agrees to notify Citi if it becomes aware of a change in
 its status that could result in it being considered a municipal entity, obligated person or an issuer of
 municipal securities. Furthermore, the Board agrees that it is solely responsible for making its own
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 judgments in connection with any particular transaction that it seeks to undertake or any advice it wishes
 to convey to the Commonwealth or its covered entities.
 The Board acknowledges that Citi is required to obtain, verify and record certain information that identifies
 each entity that enters into a formal business relationship with Citi and that Citi will ask for the Board's
 complete name, street address, and taxpayer ID number. Citi may also request corporate formation
 documents, or other forms of identification, to verify information provided.
 The Board acknowledges that communications between the parties may involve the use of email or other
 electronic means of communication and that such electronic communications are not secure or virus or error
 free and could be intercepted, corrupted, lost, destroyed or arrive late. The Board agrees that Citi and any
 of its affiliates may monitor, record and retain communications between Citi and the Board.
 No Conflict of Interest
 l. In General. The Board understands that the Group is engaged in a wide range of financial services and
    businesses (including investment management, financing, securities trading, corporate and investment
    banking and research). Members of the Group and businesses within the Group generally act
    independently of each other, both for their own respective accounts and for the accounts of clients.
    Accordingly, there may be situations where parts of the Group and/or their clients either now have or
    may in the future have interests or take actions that may conflict with the interests of the Commonwealth
    and its covered entities. For example, the Group may, in the ordinary course of business, engage in
    trading in financial products or undertake other investment businesses for its own account or on behalf
    of other clients, including, but not limited to, trading in or holding long, short or derivative positions in
    securities, loans or other financial products of the Commonwealth and its covered entities, Interested
    Parties (or persons associated with Interested Parties) and any other entities involved in the restructuring
    of the Commonwealth's debt.
     While the Board recognizes the complexity of the various businesses that the Group engages in, it is
     the expectation of the Board that Citi shall exercise best efforts to ensure that Citi advises the Board of
     any activities that the Group has or may engage in that, in Citi's view, may represent a conflict of
     interest with the interests of the Board. Neither this Agreement nor the receipt by Citi of confidential
     information nor any other matter shall give rise to any fiduciary, equitable or contractual duties
     (including without limitation any duty of trust or confidence) that would prevent or restrict the Group
     from acting on behalf of other customers or for its own account. Consistent with the Group's long­
     standing policy to hold in confidence the affairs of its customers, the Group will not use confidential
     information obtained from the Board except in connection with its services to, and its relationship with,
     the Board.
     The Board acknowledges that the Contractor has provided disclosures to the Board regarding, among
     other things, the firm's (i) Information Barrier that separates the Private Side (on which Citi's Service
     Team resides) from the Public Side (e.g., Trading) and (ii) Conflicts of Interest Management
     Framework that enables Citi to identify, manage, mitigate, monitor and escalate or report conflicts that
     can arise from time to time with clients, customers and counterparties.
 2. Upon Signing ofThird Amended Agreement and Semi-Annually Thereafter. Beginning on the effective
    date of this Third Amended Agreement, Citi, on behalf of itself and its Material Affiliates and direct
    and indirect subsidiaries, shall make the Contractor Conflict oflnterest Certifications set forth in
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     Appendix C hereto and shall thereafter make similar Citi Conflict ofinterest Certifications periodically
     as of every July !st and January !st of each year of service under this Agreement. In the event Citi or
     any of its Material Affiliates or direct or indirect subsidiaries is a publicly reporting entity and files
     public conflict of interest bearing information with a regulator or similar body (e.g., Securities and
     Exchange Form ADV for Investment Advisors), Citi shall share such filings with the Board upon
     request. Finally, it is of paramount importance to the Board that Citi disclose to the Board any
     investments by Citi as principal for its own account in Puerto Rico public debt instruments issued by
     any Interested Party that is a Puerto Rico governmental instrumentality, but not including positions held
     in the ordinary course of business, including while engaged in trading in financial products or
     undertaking other investment businesses for its own account or on behalf of other clients, including,
     but not limited to, trading in or holding long, short or derivative positions in securities, loans or other
     financial products of the Commonwealth and its covered entities, Interested Parties (or and any person
     associated with any Interested Party), or other entities involved in the restructuring of the
     Commonwealth's debt. While such investments may not always constitute a potential or actual conflict
     of interest, the Board requires such disclosure to ascertain whether or not such an investment could, in
     the Board's view, represent a conflict of interest and/or require other action or remediation. Citi
     represents that, as of the date of execution of this Third Amended Agreement, Citi's only direct or
     indirect investment covered by this disclosure obligation is a holding of COFINA Bonds that are
     insured by Berkshire Hathaway in an available-for-sale portfolio. These COFINA Bonds were issued
     to Citi as a result of the February 2019 COFINA Title III Court Confirmation Order in connection with
     cancellation of prior COFINA bonds purchased by Citibank, NA in the initial underwriting of a bond
     issue in 2007. In addition, Citi notes that it holds a non-controlling position in Mental Health
     Infrastructure Revenue Bonds, 2007 Series A (the "MEPSI Bonds") issued under that certain Trust
     Agreement, dated October I, 2007, between Puerto Rico Infrastructure Financing Authority (which is
     supported by the Puerto Rico Fiscal Agency & Financial Advisory Authority) and the Trustee.
     Although the Citi's position in the MEPSI Bonds is held by a "public side" trading desk in non­
     investment account, the Contractor and the Board have mutually agreed that the Contractor will not act
     as an advisor to the Board in connection with any restructuring of the MBPS! Bonds, and the Board
     acknowledges that it has agreed to seek advice from PJT in connection with any such restructuring of
     the MEPSI Bonds.
     The Board acknowledges that it previously received from Citi a CUSIP-by-CUSIP disclosure of bonds
     of the Commonwealth, the Puerto Rico Public Building Authority and other guaranteed, appropriation
     and "claw back" bonds issued by Covered Entities for which Citi served as a manager of new issue
     underwritings and a CUSIP-by-CUSIP disclosure of bonds of the Company for which Citi served as a
     manager of new issue underwritings. As disclosed by Citi to the Board in Citi's original December
     2016 response to the Board's request for proposals for investment banking and advisory services, Citi
     also notes that the "public side" sales and trading desks at Citi continue to make markets in outstanding
     bonds issued by the Commonwealth and its covered entities. The "public side" of Citi may also provide
     financing to holders of the newly restructured COFINA bonds.
 3. During the Term ofthis Agreement. Beginning on the effective date of this Third Amended Agreement,
    during the term of this Agreement, Citi shall not accept work, enter into a contract, or accept an
    obligation from any third party that would prevent Citi from fulfilling its obligations to the Board, or
    performing the Services, in each case, under this Agreement. Citi shall not take actions during the term
    of this Agreement that would, in Citi's view, constitute a conflict of interest with the Services performed
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     pursuant to this Agreement by the Citi for the Board. Citi represents that Citi's performance of all the
     Services under this Agreement does not breach any agreement or obligation of any kind made prior to
     the execution of this Agreement, including any noncompete agreement. Citi represents that it shall not
     enter into any agreement either written or oral that would prevent Citi from performing the Services
     contemplated by this Agreement. Beginning on the effective date of this Third Amended Agreement,
     during the term of this Agreement, Citi shall inform the Board, in a proactive manner and as soon as
     reasonably practicable, of any new or ongoing activity or assignment of Citi (or any of its Material
     Affiliates and direct and indirect subsidiaries) arising in the ordinary course of its work that, in Citi's
     view, may be an actual or potential conflict of interest.

 4. Other. From time to time, the Board may request that Citi explain in detail what its conflict of interest
    policy and conflict mitigation procedures are and it shall be the responsibility of Citi to explain in
    appropriate and relevant detail to the Board why something that may appear to be a conflict of interest
    is not an actual or potential conflict of interest or appearance of a conflict of interest. The Board will
    be the final arbiter of whether a particular set of facts presents a Citi conflict of interest.

 5. Compliance with Laws, Regulations, and Contractor Code of Conduct. While providing the Services
    contemplated by this Agreement for the Board, Citi shall comply with all laws, rules and regulations
    applicable to it in connection with the engagement contemplated by this Agreement. Citi acknowledges
    that it has been provided with a copy of the Contractor Code of Conduct and its Contractor Code of
    Conduct Disclosure Certification (attached as Appendix B and Appendix C hereto).

 Indemnification

 The Board agrees to indemnify and hold harmless the "indemnified parties" as provided in Appendix A
 attached hereto, the terms of which are incorporated into this Agreement in their entirety.

 Governing Law

 This Agreement is governed by the laws of the State of New York without regard to conflicts of law
 principles and will be binding upon and inure to the benefit of the Board and Citi and their respective
 successors and assigns. Any suit action, or proceeding brought in connection with this Agreement shall be
 brought exclusively in the Federal Courts of the Commonwealth of Puerto Rico, San Juan, Puerto Rico, and
 the parties hereby irrevocably consent to the exclusive jurisdiction of such court in any proceeding arising
 out of or relating to this Agreement and agree not to commence any suit, action, or proceeding relating
 thereto except in such court, and waive, to the fullest extent permitted by law, the right to move to dismiss
 or transfer any suit, action or proceedings brought in such court on the basis of any objections as to venue
 or inconvenient forum or on the basis of any objection to personaljurisdiction.

 The Board and Citi agree to waive trial by jury in any action, proceeding or counterclaim brought by or on
 behalf of either party with respect to any matter whatsoever relating to or arising out of any actual or
 proposed transaction or the engagement of or performance by Citi of its services hereunder.

 Termination
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 Except in connection with the Services, this Agreement shall be effective as of the date of the Original
 Agreement and may only be terminated by a party hereto with 30 days' notice to the non-terminating party,
 except as noted, below; provided that if the Board terminates this Agreement for any reason other than
 those set forth in the next paragraph, the Board shall pay to Citi, in lieu of any other fees or expenses
 otherwise provided under this Agreement, an amount equal to $3.6 million in addition to any amounts
 otherwise owed under this Agreement through the date of such termination. The provisions of this
 paragraph and the provisions set forth under the captions "Certain Acknowledgments," "Indemnification,"
 and "Governing Law" shall survive any termination of this Agreement.

 Citi's willful misconduct in fulfilling, and/or its negligent discharge or abandonment of, the duties assigned
 hereunder shall constitute a breach of this Agreement and the Board will be entitled to terminate this
 Agreement forthwith, without having to comply with the requirements of notice set forth above, without
 limitation of any other rights and remedies under law and will release and discharge the Board from any
 further obligations and liabilities hereunder.

 Notwithstanding the foregoing, in connection with the Services, the Board and Citi acknowledge that Citi
 commenced providing services to the Board on February 13, 2018 and that the terms of this Agreement
 applicable to the Services shall be deemed to have applied since this date. Each of Citi and the Board agree
 that the terms of this Third Amended Agreement will continue to apply until February 27, 2022, unless
 extended by mutual written consent or earlier terminated as provided below. Either the Board or Citi may
 terminate this Agreement at any time, with or without cause, by giving written notice to the other party;
 provided, however, that no such expiration or termination will affect the matters set out in this paragraph
 or under the captions "Use ofinformation," "Certain Acknowledgments," "Indemnity" and "Other." It is
 expressly agreed that following the expiration or termination of this Agreement, Citi will continue to be
 entitled to receive fees as described above that have accrued prior to such expiration or termination but are
 unpaid, as well as reimbursement for expenses as contemplated above. It is also expressly agreed that, if a
 Transaction is consummated within 24 months after the date of expiration or termination of this agreement
 or if a definitive agreement that results in a Transaction is entered into during the term of this agreement or
 within such period, Citi shall be entitled to its full fees as described above.

 Other

 The Board acknowledges that it is not relying on the advice of Citi for tax, legal or accounting matters, it
 is seeking and will rely on the advice of its own professionals and advisors for such matters and it will make
 an independent analysis and decision regarding any financing or restructuring transaction based upon such
 advice.

 This Agreement shall not be assignable without the prior written consent of the other party (and any
 purported assignment without such consent shall be null and void), is intended to be solely for the benefit
 of the parties hereto and is not intended to confer any benefits upon, or create any rights in favor of, any
 person other than the parties hereto. This Agreement may not be amended or waived except by an
 instrument in writing signed by each of the parties hereto. This Agreement may be executed in any number
 of counterparts, each of which shall be an original, and all of which, when taken together, shall constitute
 one agreement. Delivery of an executed signature page of this Agreement by facsimile or electronic mail
 transmission shall be effective as delivery of manually executed counterpart hereof. This Agreement is the
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 only Agreement that has been entered into among us with respect to the services to be provided hereunder
 and set forth the entire understanding of the parties with respect thereto.


                                   [SIGNATURE PAGE FOLLOWS]
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     accvnJance \\ith your undcf$fanding. of our �<TTCcmcnr by signing and rcrumiog to us a copy of this
     Agreement


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                                                     APPENDIX A
                                                 TNDEMNIFICATTQN
 In connection with the engagement of Citi to assist the Board as described in the Agreement to which this
 Appendix is attached, including modifications or future additions to such engagement and related activities
 prior to the date of the Original Agreement (the "Engagement"), the Board agrees that it will indemnify and
 hold harmless Citi and its affiliates and their respective directors, officers, agents and employees and each
 other person controlling Citi or any of its affiliates (each, an "indemnified party"), to the full extent lawful,
 from and against any losses, expenses, claims or liabilities (collectively, "losses") which any indemnified
 party may incur or become subject to (i) related to or arising out of (A) the contents of oral or written
 information provided by the Board or its employees or its other agents, which information either the Board
 or Citi provide to any actual or potential buyers, sellers, investors or offerees, or (B) any other action or
 failure to act by the Board, its employees or its other agents or by Citi or any indemnified party in
 accordance with and at the Board's request or with the Board's express written consent, or (ii) otherwise
 related to or arising out of the Engagement, except that clauses (i) and (ii) shall not apply with respect to
 any losses to the extent such losses are finally judicially determined to have resulted from the gross
 negligence or willful misconduct of such indemnified party or result from a claim brought by the Board
 against an indemnified party for breach of such indemnified party's obligations hereunder, if the Board has
 obtained a final and non-appealable judgment in its favor on such claim as determined by a court of
 competent jurisdiction ("uncovered losses"), The Board further agrees that no indemnified party shall have
 any liability (whether direct or indirect, in contract or tort or otherwise) to the Board or any of the
 Commonwealth's creditors or security holders for or in connection with the Engagement or any actual or
 proposed transaction relating to the Agreement involving Citi or other conduct in connection therewith
 except for losses incurred by the Board to the extent such losses are finally judicially determined to have
 resulted from the gross negligence or willful misconduct of such indemnified party; provided, however,
 that the foregoing shall in no manner relieve or excuse Citi from any liability arising from any breach by
 Citi of the Agreement.

 The Board will also promptly reimburse each indemnified party for all reasonable and documented
 expenses (including reasonable fees and expenses of outside counsel, which shall be limited to the fees and
 expenses of one counsel in each relevant jurisdiction) as they are incurred by such indemnified party in
 connection with investigating, preparing for, defending, or providing evidence in, any pending or threatened
 claim or proceeding in respect of which indemnification or contribution may be sought hereunder (whether
 or not Citi or any indemnified party is a party to such claim or proceeding) or in enforcing this Appendix.

 The foregoing provisions are in addition to any rights any indemnified party may have at common law or
 otherwise and shall be binding on and inure to the benefit of any successors, assigns, and personal
 representatives of the Board and each indemnified party. ANY RlGHT TO TRJAL BY TTJRY WITH
 RESPECT TO ANY CLAIM OR PROCEEDING ARJSING HEREUNDER IS WAIVED.

 The provisions of this Appendix shall remain in full force and effect notwithstanding (i) any investigation
 made by or on behalf of Citi or (ii) the completion or termination of the Engagement.
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                                                     APPENDIXB
                             CONTRACTORCONTRACTOR CODE OF CONDUCT
        The Financial Oversight and Management Board for Puerto Rico (the "Board") is committed to
        ethical and lawful behavior, and to acting professionally and fairly in all of its business dealings
        and relationships. The Board seeks to maintain high ethical standards and to comply with all
        applicable laws and regulations. The Board expects its contractors, consultants, and representatives
        to embrace this commitment to ethical and lawful behavior by complying with and training its
        employees on the Board's Contractor Code of Conduct. The Board also expects its contractors to
        have their own codes of conduct that ensure ethical business conduct and practices.

          I.       Comnliance with the Contractor Code ofConduct
        All contractors, consultants, and representatives and their employees, agents, and subcontractors
        (collectively referred to as "Contractors") must adhere to this Code of Conduct while conducting
        business with or on behalf of the Board. Contractors must promptly inform the Executive Director,
        the General Counsel, or a member of the Board when any situation develops that causes, or may
        cause, the Contractor to violate any provision of this Code of Conduct. Although Contractors are
        expected to self-monitor and demonstrate their compliance with this Code of Conduct, the Board
        may audit Contractors and/or inspect Contractors' facilities and records to confmn compliance.

        The Board may require the immediate removal from any project or engagement of any contractor
        representative(s) or personnel who behave in a marmer that is unlawful or inconsistent with this
        Code of Conduct or any Board policy. Compliance with this Code of Conduct, as well as
        attendance at any training on this Code of Conduct as may be offered by the Board, is required in
        addition to any other contractual obligations a contractor may have to the Board.

         II.       Leral and Rerulatoa ComnHance Practices
        Contractors must conduct their business activities on behalf of the Board in full compliance with
        the letter and spirit of all applicable laws and regulations.

               •   Anti-Corruption. The Board takes a zero-tolerance approach to bribery and corruption,
                   and it requires its Contractors to do the same. Contractors must not participate in bribes or
                   kickbacks of any kind, whether in dealings with the Board, government and public
                   officials, or individuals in the private sector. Contractors must also comply with all
                   applicable anti-corruption and anti-money laundering laws, as well as laws governing gifts
                   and payments to public officials, political campaign contribution and lobbying laws, and
                   other related regulations. In particular, Contractors must not:
                       o Offer, promise, or allow anything of value (including travel, gifts, hospitality
                            expenses, and charitable donations) to be given on behalf of the Board to influence
                            a business or government decision, gain an improper advantage, or otherwise
                            improperly promote the interests of the Board in any respect;
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                       o Offer, promise, or allow anything of value to be given to a Board member or
                         employee to influence a Board decision or otherwise gain an improper advantage;
                         or
                       o Ask for or accept anything of value which the Contractor knows or suspects is
                         being offered to influence a Board decision or otherwise obtain an improper
                         advantage in connection with the Contractor's work with or on behalf of the Board.

               •   Antitrust/Fair Business Practices. Contractors must conduct their business in full
                   compliance with antitrust and fair competition laws that govern the jurisdictions in which
                   they conduct business. Contractors must also uphold all standards of fair dealing and abide
                   by all fair business practices, including truthful and accurate advertising.

               •   Trade. Contractors shall comply with all applicable trade controls, as well as any
                   applicable export, re-export, and import laws and regulations. Contractors must not
                   knowingly employ or do business with anyone reasonably suspected of being connected
                   with criminal or terrorist activities or who is otherwise subject to applicable trade sanctions.

               •   Freedom from Unlawfnl Harassment and Discrimination. Contractors shall provide a
                   workplace free from harassment and/or discrimination in hiring, compensation, access to
                   training, promotion, termination, and/or retirement on the basis of race, color, creed,
                   religion, sex, gender identity or expression, sexual orientation, pregnancy, status as a
                   parent, age, marital status, national origin, ancestry, citizenship status, physical or mental
                   disability or serious medical condition, protected genetic information, political beliefs,
                   status as a veteran, or any other characteristic protected by law. Contractors shall further
                   prohibit any form of reprisal or retaliation against any employee for reporting harassment
                   or discrimination in good faith or for participating in good faith in a harassment or
                   discrimination investigation.

               •   Wages, Benefits and Working Hours. Contractors must comply with local applicable
                   laws regarding wages, overtime hours and mandated benefits. Contractors must also
                   communicate with workers about compensation, including any overtime pay, in a timely
                   and honest manner.

               •   Freely Chosen Employment. No Contractor shall use any form of indentured, slave, or
                   forced labor, including involuntary prison labor. Contractors are also prohibited from
                   supporting or engaging in any form of human trafficking of involuntary labor through
                   threat, force, fraudulent claims, or other coercion.

               •   Child Labor. Contractors shall comply with all local and national minimum working age
                   laws or regulations and not use child labor. All employees shall be age 18 and over unless:
                   (i) a country's legal age for employment or age for completing compulsory education is
                   under 18; and (ii) the work is non-hazardous.


        111.       Business Practices and Ethics
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        Contractors must conduct their business interactions and activities with integrity.

            •   Honesty and Integrity. Contractors must at all times be honest, direct, and truthful in
                discussions with the Board, its staff and agents, regulatory agency representatives, and
                government officials.
            •   Business and Financial Records. The Board expects Contractors to timely, honestly, and
                accurately record and report all business information, including without limitation any
                invoices for payment, and comply with all applicable laws regarding their creation,
                completion, accuracy, retention, and disposal. All invoices must be (i) timely submitted,
                (ii) itemized, (iii) supported by appropriate documentation, and (iv) must comply with all
                other requirements as set out in the relevant contract(s).
            •   Conflict of Interest. Contractors shall scrupulously avoid any conflict, real or perceived,
                direct or indirect, between their own individual, professional, or business interests and the
                interests of the Board. Among other things, Contractors must not deal directly with any
                Board member or ex officio member or employee whose spouse, domestic partner, or other
                family member or relative is associated with and/or holds any ownership or other financial
                interest in the contractor. In the course of negotiating the contractor agreement or
                performing the contractor's obligations, dealing directly with a contractor personnel's
                spouse, domestic partner, or other family member or relative employed by the Board is
                also prohibited. Complying with this requirement includes, but is not limited to, each
                contractor's completion of the Contractor Conflict of Interest Disclosure Certification
                attached as Appendix C hereto.
            •   Gifts and Entertainment. Contractors should avoid any actions with Board members or
                ex officio members or employees during any contractor selection or re-selection process
                that could give others the impression of favoritism or other improper advantage.
                Furthermore, Contractors should not offer, and Board members, ex officio members, and
                employees must not accept, gifts or entertainment that might compromise, or appear to
                compromise, the Board member or employee's judgment or independence. Even a well­
                intentioned gift might constitute or be perceived to be a bribe under certain circumstances
                or create a conflict of interest or the appearance of a conflict of interest. Board employees
                are required to conduct all business and interactions with Contractors in strict compliance
                with the applicable provisions of the Board's business ethics and conflict of interest
                policies.
            •   Confidentiality, Privacy and Data Security. Contractors shall, at all times while they
                are engaged by the Board and thereafter, (i) hold aU proprietary and confidential
                information of the Board in strictest confidence, (ii) not use or disclose for any purpose
                any proprietary and confidential information of the Board to any person, business or entity,
                except as specifically authorized in writing by the Board, and (iii) not disclose for any
                purpose any non-public information concerning their retention by the Board or their
                services for the Board, except as specifically authorized in writing by the Board; provided,
                that, Contractor may to disclose the Board's proprietary and confidential information only
                (a) to its Representatives (as defined herein) who need to know the confidential information
                in connection with the Services and/or any Transaction, (b) to Contractor's regulators or
                examiners, and (c) to defend itself in connection with a legal proceeding regarding the
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                performance of the Services and/or any Transaction. In the event that, other than as set
                forth in the immediately preceding sentence, the Contractor or its Representatives is
                requested or required by law, regulation, supervisory authority or other applicable judicial
                or govermnental order to disclose any confidential information, it will, to the extent
                permitted, provide the Board with prompt notice of such request or requirement so that
                Board may seek an appropriate protective order. If, failing the entry of a protective order,
                the Contractor is, in the advice of its counsel, required to disclose confidential information,
                then the Contractor may disclose that portion of the confidential information and will
                cooperate with the Board, at Board's expense, in the Board's efforts to obtain a protective
                order or other reliable assurance that only the designated portion of the confidential
                information will be disclosed. Contractors shall abide by all Board requirements and
                procedures for protecting the proprietary and confidential information of the Board,
                including signing and abiding by the Board's confidentiality agreements. Contractors who
                handle proprietary and confidential information on behalf of the Board or belonging to the
                Board must apply and maintain sufficient privacy and information security safeguards.
                Contractors shall also be subject to an information and data security assessment.
                Notwithstanding the foregoing, to the extent of any conflict between this provision and the
                terms of any confidentiality agreement entered into between the Board and Contractor
                ("Confidentiality Agreement"), the terms of the terms of the Confidentiality Agreement
                shall control. For purposes of this provision, (i) "Services" and "Transaction" shall have
                the meaning ascribed to such terms in the Second Amended and Restated Engagement
                Letter between Citigroup Global Markets Inc. and the Board, dated February 16, 2019, and
                (ii) the Board's proprietary and confidential information excludes information that (a) was
                or becomes generally available to the public other than as a result of a disclosure in breach
                of this provision by the Contractor affiliates, or their employees, officers, directors,
                representatives and financial and legal advisors (collectively, "Representatives"), (b) was
                or becomes independently provided to the Contractor by a third party who was not known
                by the Contractor to be subject to an obligation of confidentiality or otherwise prohibited
                from transmitting such information, (c) was in the Contractor's possession prior to the
                receipt thereof from the Board or (d) was independently developed by, or for, the
                Contractor without reference to the confidential information.
            •   Media. Contractors are prohibited from speaking to the press or making any public
                statements, oral or written, concerning their work for or on behalf of the Board without the
                express written authorization of the Board.
            •   Reporting Concerns. Contractors shall maintain a hotline or other reporting system for
                their workers to confidentially and anonymously report any information or concerns about
                suspected non-compliance or violations of law or improper conduct by any contractor
                employee or agent without threat of reprisal, intimidation or harassment. If concerns are
                reported, Contractors shall promptly and thoroughly investigate any such report and take
                corrective action as necessary and appropriate.

                                             [Signature Page Follows]
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                                                     APPENDIXC

                CONTRACTOR CONFLICT OF INTEREST DISCLOSURE CERTIFICATION
  All contractors, consultants, and or experts ("Contractors") interested in conducting business with the
  Financial Oversight and Management Board for Puerto Rico (the "Board") must complete and return this
  Contractor Conflict of Interest Disclosure Form to be eligible for a contract award. Disclosing a potential
  conflict of interest will not automatically disqualify the Contractor. The potential conflict of interest will
  be investigated to determine whether it precludes the contract award. In the event, however, that the
  Contractor does not disclose potential conflicts of interest and they are discovered by the Board, the
  Contractor will be barred from doing business with the Board.

  Please note that all Contractors must comply with the Board's Contractor Code of Conduct as stated within
  the certification section below.

  No Conflict of Interest: Except as otherwise fully disclosed below (attach additional pages as needed),
 the Contractor affirms, on behalf of itself, its Material Affiliates and its direct and indirect subsidiaries, to
 the best of its knowledge, information and belief, that no Interested Party (as defined in Schedule A hereto),
 nor any person associated with any Interested Party, is an employee, Director or Trustee, Officer or
 consultant to/of, or has any financial interest, direct or indirect, in the Contractor, or has received or will
 receive any financial benefit, directly or indirectly, from the Contractor or from the contract associated with
 this certification.

  For the purposes of this certification, "associated" persons include: a spouse, domestic partner, child, parent
  or sibling of an Interested Party; a person with whom an Interested Party has a business or other financial
  relationship, including but not limited to employees of an Interested Party and/or a spouse, domestic partner,
  child, parent or sibling of such employees; and each firm in which an Interested Party has a present or
  potential interest.

 Note that Contractor's responses to questions I - 4, and Contractor's responses related to persons
 associated with any Interested Party, are limited to the Vendor's actual knowledge. The Contractor is an
 indirect wholly owned subsidiary ofCitigroup Inc. ("Citigroup''), a publicly traded company that, together
 with its consolidated subsidiaries, has over 200,000 full-time employees and does business in more than
 160 countries and jurisdictions. The Contractor has no way of knowing if (i) an Interested Party or
 associated person ofan Interested Party owns Citigroup stock or (ii) an associated person ofan Interested
 Party is employed in some part of Citibank's organization outside of the Contractor's Public Finance
 Department. Ifa person associated with an Interested Party owned Citi stock or had a spouse or child with
 a job at Citi outside of the Public Finance Department, we do not believe that would have a material
 adverse impact on the Contractor's ability to perform under its contract with the Board or constitute a
 conflict of interest. Further, (x) except to the extent identified to the Contractor as such, the Contractor
 has no way of knowing the identity of persons "associated" with Interest Parties and (Y) the Contractor
 has not been provided a list of persons associated with Interested Parties. Additionally, the responses
 below are made subject to, and qualified by, the Contractor's disclosures set forth in the Third Amended
 Agreement under the heading "No Conflict ofInterest".
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   No.     To the best of your knowledge:                                                 YES       NO

   1       Is any Interested Party, or any person associated with any Interested                    X
           Party, associated with any employee, Director or Trustee, Officer or
           consultant to/of the Contractor?

   If you answered "yes" to Question 1, please identify the names of the persons who are associated and
   describe the nature of their association below:

   [IF YES, LIST] Contractor understands this Question 1 is not intended to capture client or ordinary-course
   vendor (e.g., outside counsel), counterparty and banking relationships (e.g., underwriting) that are
   unrelated to this Agreement. Further, although Contractor understands this Question 1 is intended only
   to capture connections constituting adverse interests to the Board, Contractor has provided to the Board
   disclosures related to Contractor's Service Team connections to Interested Parties.

   No.     To the best of your knowledge:                                                 YES       NO

   2       Does any Interested Party, or any person associated with an Interested         X
           Party, have an ownership interest in the Contractor's company?

   If you answered "yes" to Question 2, please identify the name(s) of the person(s) who has/have such an
   ownership interest and describe the nature of the interest:

  [IF YES, LIST] The Contractor and Citibank, N.A., an affiliate of the Contractor, are indirect wholly-owned
  subsidiaries of Citigroup. For completeness, the Contractor appears as an Interested Party, presumably
  as a result of Citi's work under the prior contract that this Third Amended Agreement replaces. Further,
  as noted in the preamble to this questionnaire, since Citigroup is a publicly traded company, we have no
  way of knowing or monitoring or reporting on what individuals or entities own shares of Citigroup stock.




   No.     To the best of your knowledge:                                                 YES       NO

   3       Has any Interested Party, or any person associated with an Interested                   X
           Party, received, or will any Interested Party, or any person associated with
           an Interested Party receive, a financial benefit from the Contractor or
           from this contract?
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   If you answered "yes" to Question 3, please identify the name(s) of the person(s) who have received or
   will receive such a financial benefit and describe the nature of the benefit below:

   [IF YES, LIST] Contractor understands that this Question 3 is not intended to capture client or ordinary-
   course vendor (e.g., outside counsel), counterparty and banking relationships (e.g., underwriting) that
   are unrelated to this Agreement.




   No.     To the best of your knowledge:                                                 YES      NO

   4        Is any Interested Party, or any person associated with an Interested Party,            X
            contemporaneously employed or prospectively to be employed with the
            Contractor?

   If you answered "yes" to Question 4, please identify the name(s) and title(s) of the person(s) who are or
   will be so employed below:

   [IF YES, LIST]




   No.     To the best of your knowledge:                                                 YES      NO

   5       Is any Interested Party, or any person associated with an Interested Party,            X
           acting as a consultant for the Contractor?

   If you answered "yes" to Question 5, please identify the name(s) of the person(s) acting as a consultant
   and describe the nature of his/her/their consulting services below:

   [IF YES, LIST] Contractor understands that this Question 5 is only intended to address consulting
   relationships that are related to this Agreement.



   No.     To the best of your knowledge:                                                 YES      NO

   6       Has the Contractor provided, or will the Contractor provide, any gifts or              X
           hospitality of any dollar value or any other gratuities to any Interested
           Party or elected official to obtain or maintain a contract?
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  If you answered "yes" to Question 6, please describe the nature of such gifts, hospitality, or other
  gratuities below, including (1) the recipient(s) of such gifts, hospitality, or other gratuities; (2) the date(s)
  on which such gifts, hospitality or other gratuities were provided; and (3) the exact (if possible) or
  approximate dollar value of such gifts, hospitality, or other gratuities:



  [IF YES, LIST] Contractor understands that this Question 6 is not intended to capture client, counterparty
  or ordinary-course vendor, counterparty and banking relationships that are unrelated to this Agreement.
  Further, the Contractor is subject to policies that prohibit its employees from offering, providing,
  requesting or accepting gifts and entertainment to influence an improper action or inaction, secure an
  improper advantage, or induce the improper performance of a responsibility by the recipient.



  No.     To the best of your knowledge:                                                     YES         NO

  7        Has any Interested Party, or any person associated with an Interested                         X
           Party, provided any gifts of any dollar value or any other gratuities to
           Contractor?

  If you answered "yes" to Question 7, please describe the nature of such gifts, hospitality, or other
  gratuities below, including (1) the recipient(s) of such gifts, hospitality, or other gratuities; (2) the date(s)
  on which such gifts, hospitality or other gratuities were provided; and (3) the exact (if possible) or
  approximate dollar value of such gifts, hospitality, or other gratuities:

  [IF YES, LIST] Contractor understands that this Question 7 is not intended to capture client or ordinary-
  course vendor (e.g., outside counsel), counterparty and banking relationships (e.g., underwriting) that
  are unrelated to this Agreement. For completeness, see response to Question 6.




  No.     To the best of your knowledge:                                                     YES         NO

  8       Has the Contractor or any if its material affiliates or direct or indirect X
          subsidiaries made any investments in any public debt obligations of the
          Commonwealth of Puerto Rico or any of its instrumentalities?
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   If you answered "yes" to Question 8, please describe the nature of such public debt investments

   [IF YES, LIST] Consistent with the Agreement to which this Appendix C is attached, for purposes of this
   Question 8, material affiliates shall constitute any affiliate of Citi that has lent personnel to the
   Contractor's Service Team. The Contractor's Service Team is comprised of the Citi bankers that directly
   provide the services for which the Board has retained Contractor. See specific disclosures in this Third
   Amended Agreement (Paragraph #2 under the heading "No Conflict of Interest").




                                         [Signature Page Follows]
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     CQm:ct by my si _gr...1ture bdov.:


     Contractor Nome: CITIGROUP GLOBAL MARKETS INC.



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                                   SCHEDULE A Updated as of512612Q2Q
 For purposes of the Financial Oversight and Management Board for Puerto Rico (the ("Board")'s
 Contractor Conflict oflnterest Disclosure Certification, the following entities and individuals are Interested
 Parties:

 65 Infanteria Shopping Center, LLC
 800 Ponce De Leon Corp.
 911 Emergency System Bureau
 9-1-1 Service Governing Board
 A & E GROUP, CORP.
 A C R Systems
 A New Vision in Educational Services and Materials, Inc.
 A&S Legal Studio, PSC
 A.I. AMADEO MURGA LAW OFFICES
 Abacus Educational Services, Corp.
 Abbvie Corp.
 Abengoa Puerto Rico, S.E.
 Abengoa S.A.
 Abila, Inc.
 Abimael Portalatiin Rosario
 Abraham Garcia Roman
 Academia CEIP
 Acosta & Ramirez
 ACP Master, Ltd
 Action To Build Changes Corp.
 Ada R. Valdivieso
 Adalberto E. Moret Rivera
 Additional (Electronic) Lottery
 Adirondack Holdings I LLC
 Adirondack Holdings II LLC
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 ADM. SERVICIOS GENERALES
 Admin for Socioeconomic Develop of the Family
 Administraci6n De Seguros De Salud De Puerto llico
 Administration for Integral Development of Childhood
 Adolfo E. Santiago Santiago
 Adrian Mercado Jimenez
 Adriana Irizarry
 ADSUAR MUNIZ GOYCO SEDA & PEREZ-OCHOA PSC
 Adsuar Muniz Goyco Seda & Perez-Ochoa, PSC
 Advocacy for Persons with Disabilities of the CW of PR
 AES Puerto llico, L.P.
 AFCG Inc. d/b/a Arroyo-Flores Consulting Group, Inc.
 AFICA
 Agricultural Enterprises Development Administration
 Aguirre Offshore Gasport, LLC
 Aida A. Cruz Vidal
 Aida Rossy Clemente
 AIG Insurance Company
 Aileen Schmidt Rodriguez
 AKIN GUMP STRAUSS HAUER & FELD LLP
Alan Friedman
 Alan Rodriguez Perez
 ALB PR Investments, LLC
 Albert B. Shehadi
Alberto J. Pico, Jr.
Aldarondo & Lopez-Bras, P.S.C.
Alejandro Camporreale Mundo
Alejandro Estrada Maisonet
Alejandro Figueroa
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 Alexander Shub
 Alexandra Bigas Valedon
 Alfa YOmega
 Alianza Comunitaria Ambientalista del Sureste, Inc.
 Allan R. Bonin
 Alma Elias Rev. Trust
 Almeida & Davila, P.S.C.
 Alpha Guards Management
 Altair Global
 Altair Global Credit Opportunities Fund (A), LLC
 Alto! Chemical Environemntal Laboratory Inc. D/B/A Alehem Laboratory
 Alto! Enviromnental Services, Inc.
 Alvarez & Marsal
 Alvin Marrero-Mendez
 Alys Collazo Bougeois
 Amado Ravelo Guerrero
 Amar Educational Services Inc.
 Amarilis Ruiz Roman
Ambac Assurance Corporation
Ambassador Veterans Services of Puerto Rico L.L.C.
 AMC Consulting Services
America Aponte & Assoc. Corp.
American Century Investment Management, Inc.
American Enterprise Investment Services Inc.
American Federation of State, County and Municipal Employees
American Federation of State, County and Municipal Employees International Union, AFL-CIO
American Federation of Teachers, AFL-CIO
American Modem Home Insurance Company
AmeriCorps
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  AmeriNational Community Services, LLC
  Amigos del Rio Guaynabo, Inc.
  Ana Figueroa Colon
  Ana I. Iturregui Margarida
  Ana J. Matosantos, Member of the Board
  Ana M. Emanuelli
  AnaR. Lopez
  Ana T. Colmenero
  ANBBank
  Anchorage Capital Group, L.L.C.
  Andalusian Global Designated Activity Company
  Andres Fortuna Evangelista
  Andres Fortuna Garcia
  Andres L. Cordova
  Andres Matos Figueroa
  Andrew G. Biggs, Member of the Board
  Andrew Jimenez LLC
  Andrew Jimenez-Cancel
  Andrew M. Minster
  Andrew P. Davis
  Andrew P. Davis and Jessica G. Davis, Trustees U/A 8/18/15: Andrew P Davis 2015 Grat I
  Andrew Wolfe
  Angel A. Rodriguez Gonzalez
  Angel D. Cintron Vega
  Angel L Martinez-Alvarez
  Angel L. Llamas
  Angel R. Figueroa Jaramillo
  AngelRodriguez Rivera
  AngelRuiz Rivera
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  Angelo, Gordon & Co., L.P.
  Angely M. Aponte-Pagan
  Anibal Sanz Gonzalez
  Ankura Consulting Group, Inc.
  Anna Elias
  Annabell C. Segarra
  Anne Catesby Jones
  Anne Farley
  Annette Mary Blasini Batista
  Antilles Power Depot, Inc.
  Antonetti Montalvo & Ramirez Coll
  Antonia Fuentes-Gonzalez
  Antonia Rita Blasini Batista
  Antonio Cosme-Calderon
  Antonio De La Cruz Miranda
  Antonio Fuentes-Gonzalez
  Antonio Martin Cervera
  Antonio Monroig Malatrassi
  Antonio Santos Bayron
  Antonio Vega-Fernandez
  APCO Worldwide, LLC
  Apex Clearing Corporation
  APEX GENERAL CONTRACTORS, LLC,
  Aquasur Corporation
  Arc American, Inc.
  Arcos Dorados Puerto Rico LLC
  Ariel Colon Clavell
  Ariel Ferdman
  Arieta & Son Assurance Corporation
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 Aristeia Capital, L.L.C.
 Aristeia Horizons, L.P.
 Arlene Irizarry Rivera
 Armada Productions Corp.
 Arnaldo Cruz Igartua
 Arnaldo Hernandez Mendez
 Arnaldo Ortiz-Ortiz
 Arroyo & Rios Law Offices, PSC
 Arthur J. Gonzalez
Arthur Samodovitz
Arturo Ortiz
 Arturo Pico Vidal
 Arturo Suarez Lopez
 Arturo Suarez Perez
 ASM BLMIS Claims LLC
Asociacion Azucarera Cooperativa Lafayette
 Asociaci6n de Empleados del Estado Libre Asociade
 Asociacion de Empleados Gerenciales del Fonda de! Seguor del Estado Corp
ASOCIACION DE INNSPECTORES DE JUEGOS DE AZAR
 Asociaci6n de Jubilados de la Judicatura de Puerto Rico, Inc.
 Asociaci6n de Maestros de Puerto Rico
 Asociaci6n de Maestros de Puerto Rico Local Sindical
Asociaci6n de Profesores y Profesoras del Recinto Universitario de Mayagliez, Inc.
Asociacion de Salud Primaria de Puerto Rico
Asociaci6n de Suscripci6n Conjunta
Asociacion Puertorriquena de la Judicatura
Asociaci6n Puertorriquefia de Profesores Universitarios
Associated Branches Ports
Association of Gaming Inspectors
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 Assured Guaranty Corporation
 Assured Guaranty Municipal Corporation
 Astrid Vazquez Gonzalez
 Atkins Caribe, LLP
 Atlantic Medical Center, Inc.
 Augusto P. Conte Matos
 Augusto R Palmer Arrache
 Aurelius Capital Management, LP
 Aurelius Capital Master, Ltd.
 Aurelius Convergence Master, Ltd
 Aurelius Investment, LLC
 Aurelius Opportunities Fund, LLC
 Automobile Accidents Compensation Administration
 Autonomous Municipality of Ponce
 Autonomous Municipality of San Juan
 Autonomy Capital (Jersey) LP
 Autonomy Master Fund Limited
 Autopistas de PR, LLC
 Autopistas Metropolitanas de Puerto Rico, LLC
 Autoridad de Energia Electrica de Puerto Rico
 Avanti Technologies Inc.
 Avanzatec LLC
 Awilda Gonzalez
 Awilda 0. Martinez-Sanchez
 Awilda Valle
 Aymara Vazquez Casas
 Bacardi Corporation
 Bacardi International Limited
 Backyard Bondholders
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  Badillo Saatchi & Saatchi, Inc.
  Bahia Park S.E., B.P. S.E.
  Banco Popular de Puerto Rico
  Banco Popular De Puerto Rico As Trustee For Popular Balanced IRA Trust Fund
  Banco Santander Puerto Rico
  Bank of America
  Bank of America Merrill Lynch
  Bank of New York Mellon
  Barbara T. Doan Grandchildrens Trust
  Barclays Capital
  Barclays Capital Inc./LE
  Bard Sharman Limited
  Barnes & Thornburg, LLP
  Barreras, Inc.
  Baxter Sales and Distribution Puerto Rico Corp.
  BB&T Securities, LLC
  Beanstalk Innovation Puerto Rico LLC
  Beatriz Nieves-Lpez
  BEC Co, Inc. d/b/a Empacadora Hill Brothers
  Behzad Aalaei
  Belk & Grovas Law Offices
  Bella Export Corporation
  Bella International, LLC
  Bella Retail Group, LLC
  Beltran Cintron
  bengoa Puerto Rico, S.E., Abengoa, S.A.
  Bennazar, Garcia & Milian, CSP
  Bermudez Diaz & Sanchez LLP
  Bermudez, Longo, Diaz-Masso, LLC
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Bernice Beauchamp-Velazquez
Bernstein, Shur, Sawyer & Nelson, P.A.
Bettina M. Whyte
BI Incorporated
Bianca Convention Center, Inc.
Bio-Medical Applications of Puerto Rfoo, Inc.
Bio-Nuclear of Puerto Rico, Inc.
Black Diamond Credit Strategies Master Fund, Ltd.
BlackRock Financial Management, Inc.
Blanca Fernandez Paoli
Blanca Goldikener
Blanca M. Ramirez Feliciano
BIanca Paniagua
BlueMountain Capital Management, LLC
BMO Capital Markets
BMO Capital Markets GKST, Inc.
BNP Paribas Securities Corp./Prime Brokerage
BNP Paribas, New York Branch/BNP Paribas Prime
BNP Paribas, New York Branch/Custody/Client Assets
BNY Mellon
BNY Mellon / Nomura Int'! PLC Repo
BNY Mellon/ POP Sec
BNYMellon/RE DBTC Americas / Deutsche Bk London
BNYMellon/RE DBTC Americas/Deutsche BK
BNYMellon/RE Midcap Spdrs
BNYMellon/RE OZ Omnibus DTC Account
BNYMellon/RE The Prudential Investment
BNYMellon/W ealth Management
Bobonis, Bobonis & Rodriguez Poventud
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  BofA Securities
  Bonistas del Patio
  Bonnin Investment Corp.
  Bosque Modelo de Puerto Rico
  Bracewell, LLP
  Branch Banking and Trust Company
  Brenda C. Gonzalez Castillo
  Brenda Marrero & Associates, Inc
  Brian L. Murphy
  Brigade Capital Management, LP
  Brigade Distressed Value Master Fund Ltd.
  Brigade Leveraged Capital Structures Fund Ltd.
  Bristol-Myers Squibb Puerto Rico, Inc.
  Brookfield Asset Management Private Institutional Capital Adviser (Credit) LLC
  Brown Brothers Harriman & Co.
  Brown Rudnick LLP
  Bruce Robert Wiederspiel
  Brunnemer Children's GST Inv Trust UAD 12/20/01
  Buchalter, A Professional Corporation
  Bufete Emmanuelli, C.S.P.
  Bufete Rodriguez Miranda, C.S.P.
  Bureau of Special Investigations
  Butler Snow, LLP
  C. Conde & Assoc.
  C.L. King & Associates, Inc.
  Cabrera & Ramos Transporte, Inc.
  Cadwalader, Wickersham & Taft, LLP
  Camino Cipres LLC
  Camino Roble LLC
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 Campofresco, Corp.
 Camuy Health Center, Inc.
 Camuy Health Services, Inc.
 Canary SC Master Fund, L.P.
 Cancio Covas & Santiago, LLP
 Cancio, Nadal, Rivera & Diaz, PSC
 Candlewood Constellation SPC Ltd., acting for and on behalf of Candlewood Puerto Rico SP
 Candlewood Investment Group, LP
 Cantor Clearing Services
 Cantor Fitzgerald & Co.
 Cantor-Katz Collateral Monitor LLC
 Canyon Balanced Master Fund, Ltd.
 Canyon Blue Credit Investment Fund L.P.
 Canyon Capital Advisors LLC
 Canyon Distressed Opportunity Investing Fund II, L.P.
 Canyon Distressed Opportunity Master Fund II, L.P.
 Canyon NZ-DOF Investing, L.P.
 Canyon Value Realization Fund, L.P.
 Canyon Value Realization Mac 18 Ltd.
 Canyon-ASP Fund, L.P.
 Canyon-GRF Master Fund II, L.P.
 Canyon-SL Value Fund, L.P.
 Capftulo de Retirados de SPU
 Cardiovascular Center Corporation of Puerto Rico and the Caribbean
 Cardona-Jimenez Law Offices, PSC
 Careers, Inc.

 Caribbean Airport Facilities, Inc.
 Caribbean City Builders, Inc.
 Caribbean Data System, Inc.
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 Caribbean Educational Services, Inc.
 Caribbean Hospital Corporation
 Caribbean Investment Center, Inc.
 Caribbean Temporary Services, Inc.
 Caribe Grolier, Inc.
 Caribe Tecno, Inc.
 Caribean Cinema of Guaynabo, Corp.
Carla T. Rodriguez Bernier
 Carlos A. Arroyo Aguirrechea
Carlos A. Cintron Garcia
Carlos A. Ponce De Leon
Carlos A. Quilichini Paz
Carlos A. Robles
Carlos Alsina Batista Law Offices, PSC
Carlos E. Cardona-Fernandez
Carlos E. Iturregui Margarida
Carlos E. Rivera-Justiniano
Carlos Fernandez-Nadal, Esq
Carlos Guzman-Nieves
Carlos Ifarraguerri Gomez, MD
CARLOS J. MENDEZ-NUNEZ
Carlos J. Weber Seda
Carlos Lopez-Lay
Carlos Luis Merced-Centeno
Carlos M. Amador
Carlos M. Benitez, Inc
Carlos M. Garcia
Carlos M. Vergne Law Offices
Carlos Otero Ortega
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 Carlos Perez Molina
 Carlos R. Machin
 Carlos R. Mendez & Associates
 Carlos Reyes
 Carlos Rodriguez Vidal
 Carlos Valdes de Llauger
 Carmen Casanova de Roig
 Carmen Castro de V aides
 Carmen D. Jimenez Gandara Estate
 Carmen D. Serrano Torres
 Carmen Del R Garcia Roman
 Carmen E. Ramirez
 CARMEN FELICIANO VARGAS
 Carmen G. Golderos Rodriguez
 Carmen Geigel
 Carmen Ilenna Rivera Cintron
 Carmen Iris Rivera Cosme
 Carmen Maria Davila
 Carmen Nunez
 Carmen Rodriguez Colon
 Carmen Rosa
 Carmen Rosa Pola
 Carmen W. Nigaglioni
 Carmen Yolanda Rivera Torres
 Carnegie Learning, Inc.
 Carribean Restaurant Inc.
 Carvajal Educacion, Inc.
 Casa Grande Interactive Communications, Inc.
 Case Solutions, LLC
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  Casellas Alcover & Burgos, PSC
  Casillas, Santiago & Torres, LLC
  Catalinas Cinema, Corp.
  Catharine M. Bonin
  CCHPR Hospitality, Inc
  CD Builders, Inc.
 Celia Femandez De Gutierrez
 Center for Research, Education and Medical Services for Diabetes
 Centerbridge Partners, L.P.
  Centro Avanzado Patologia & Terapia Del Habla, Inc.
  Centro de Desarollo, Inc.
  Centro de Medicina Familiar Julio Palmieri Ferri, Inc.
 Centro de Orientacion y Ayuda Psiquiztrica, Inc.
 Centro De Patologia Del Habla Y Audicion LLC
 Centro de Periodismo Investigativo Inc.
 Centro de Salud de Lares, Inc.
 Centro de Salud Familiar Dr. Julio Palmieri Ferri, Inc.
 Centro de Servicios Primarios de Salud de Patillas, Inc.
 Centro de Terapia Integral Crecemos, CSP
 Centro Del Sur Mall, LLC
 Centro lnterdisciplinario del Aprendizaje, Inc.
 Centro Medico Del Turabo, Inc.
 Centro Psicologico del Sur Este P.S.C.
 Centro Sicoterapeutico Multidisciplinario Incorporado
 Cesar Caminero Ramos
 Cesar Castillo, Inc.
 Cetera Investment Services LLC
 Charles A. Cuprill, PSC, Law Offices
 Charles L. Perkins, Sr.
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  Charles Schwab & Co., Inc.
  Charlie Hernandez Law Offices
  Chelo's Auto Parts
  Chief Judge Barbara J. Houser
  Chief of Staff
  Chiesa Shahinian & Giantomasi PC
 Child Support Administration
  Childcare and Childhood Integral Development Administration
 Choate, Hall & Stewart, LLP
  Christain Sobrino, Ex Officio Member of the Board
  Christian Sobrino Vega
 Ciales Primary Health Care Services, Inc.
 Ciales Primary Health Center, Inc.
 Cintron-Garcia Law
 Citibank, N.A.
 Citibank/The Citigroup Private Bank/Trust
 Citigroup Global Markets Inc.
 Citigroup Global Markets Inc./Salomon Brothers
 Citigroup Global Markets, lnc./Correspondent Clearing
 Citigroup Inc.
 Citizen's Advocate Office (Ombudsman)
 City National Bank
 Civil Rights Commission
 Claren Road Credit Master Fund, Ltd.
 Claren Road Credit Opportunities Master Fund, Ltd.
 Clarissa M. Vinas Miranda
 Claudia Vincenty Guzman
 Clearing LLC
 Clinica de Terapias Pediatricas, Inc.
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  Clinica Terapeutica de! Norte Inc.
  Coalicion de Organizaciones Anti Incineracion, Inc.
  Cobian Roig Law Offices
  Cobra Acquisitions LLC
  Cohen, Weiss and Simon, LLP
  COLON RAMIREZ, LLC
  Com Est Elec Y/0 Francheska Ortiz Bonnet
  Comerica Bank
  Comite Dialogo Ambiental, Inc.
  Comite Yabucoeno Pro-Calidad de Vida, Inc.
  Commerce Bank
  Commonwealth Election Commission
  Commonwealth of Puerto Rico
  Commonwealth of Puerto Rico Regional Center Corporation
  Community Cornerstones, Inc.
  Company for the Integral Development ofCantera's Peninsula
  Company for the Integral Development of the "Peninsula de Cantera"
  Compass Bank/Trust Division
  Comprehensive Health Service, Inc.
  Computer Leaming Centers, Inc.
  Computer Network Systems Corp.
  Concilio de Salud Integral de Loiza, Inc.
  Conjugal Partnership Crespo-Colon
  Consejo de Salud de la Comunidad de la Playa de Ponce, Inc.
  Conservatory of Music
  Constellation Capital Management, LLC
  Constructora Santiago II, Corp.
  Continental Casualty Co.
  Contributions to Municipalities (CRIM)
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 Controller's Office
 Convention Center District Authority (PRCCDA)
 Conway MacKenzie, Inc.
 Coop A/C Roosevelt Roads
 Coop A/C San Rafael
 Cooper Power Systems, LLC
 Cooperativa A/C La Comeriena
 Cooperativa A/C Roosevelt Roads
 CooperativaNC Vegabajeiia
 Cooperativa de NC Aguas Buenas
 Cooperativa De A/C Aibonitena
 Cooperativa de A/C Camuy
 Cooperativa de A/C Jesus Obrero
 Cooperativa De NC La Sagrada Familia
 Cooperativa de A/C Maunabo
 Cooperativa de NC Morevena
 Cooperativa de NC Oriental
 Cooperativa De NC Saulo D Rodriguez
 Cooperativa de Ahorro & Credito San Rafael
 Cooperativa De Ahorro Y Credito Abraham Rosa
 Cooperativa de Ahorro y Credito Candelcoop
 Cooperativa De Ahorro Y Credito De Aguada
 Cooperativa de Ahorro y Credito De Aguadilla
 Cooperativa de Ahorro y Credito de Caparra
 Cooperativa de Ahorro y Credito de Ciales
 Cooperativa de Ahorro y Credito de Empleadoes Municipales de Guaynabo (a/k/a MUNICOOP)
 Cooperativa De Ahorro Y Credito De Empleados De La Autoridad De Energia Electrica
 Cooperativa de Ahorro y Credito de Empleados de la Corporacion de! Fondo de! Seguro del Estado
 Cooperativa de Ahorro y Credito de Hatillo
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 Cooperativa De Ahorro y Credito De Isabela
 Cooperativa de Ahorro y Credito de Juana Diaz
 Cooperativa de Ahorro y Credito de la Federacion de Maestros de PR
 Cooperativa De Ahorro Y Credito De Lares
 Cooperativa De Ahorro Y Credito De Lares Y Region Central
 Cooperativa de Ahorro y Credito de Oficiales de Custodia de PR
 Cooperativa de Ahorro y Credito de Rincon
 Cooperativa de Ahorro y Credito de Santa Isabel
 Cooperativa de Ahorro y Credito de Yauco
 Cooperativa de Ahorro y Credito del Valenciano
 Cooperativa de Ahorro y Credito Dr. Manuel Zeno Gandia
 Cooperativa De Ahorro Y Credito El Valenciano
 Cooperativa De Ahorro Y Credito Isla Coop
 Cooperativa de Ahorro y Credito Jayucoop
 Cooperativa de Ahorro y Credito Lomas Verdes
 Cooperativa De Ahorro Y Credito Padre Salvador Ruffolo
 Cooperativa de Ahorro Y Credito San Jose
 Cooperativa de Ahorro y Credito Vega Alta
 Cooperativa de Ahorro Y Credito Vegabajena
 Cooperativa De Ahorro Y Credito Zeno Gandia
 Cooperativa de Seguros Multiples de Puerto Rico
 Cooperative Development Commission
 COR Clearing LLC
 Corbin Opportunity Fund, L.P.
 Cordova & Dick LLC
 Cordova & Dick, LLC
 Core Laboratories N.V. D/B/A/ Saybolt
 Corp for the Industries of Blind, Mentally Retarded, and Other Disabled People of Puerto Rico
 Corporacion De Servicios De Salud Y Medicina De Avanzada
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  Corporacion de Servicios lntegrales de Salud Area de Barranquitas, Comerio, Corozal Naranjito y
  Orocovis, Inc.
  Corporacion de Servicios Medicos Primarios y Prevencion de Hatillo, Inc.
  Corporacion Marcaribe Investment (Marcaribe)
  Corporaci6n Publica para la Supervision y Seguro de Cooperativas de Puerto Rico ("COSSEC")
  Corporate Research and Training, Inc.
  Corporation for the "Cafio Martin Pena" Project
  Corporation ofindustries for the Blind and Mentally Retarded and Incapacitated Persons of Puerto Rico
  Corps of Firefighters Bureau
  Corps of Medical Emergencies Bureau
 Correa Acevedo & Abesada Law Offices, PSC
  CORRECTION CORPORATION OF AMERICA
 Correctional Health
 CORTLAND CAPITAL MARKET SERVICES LLC
 COSSMA
 Costa Salud, Inc.
 Coto & Associates
 Coto Laurel Solar Farm, Inc.
 Court of Appeals
 Court of First Instance
 Cowell Weedon & Co.
 Creative Educational & Psychological Services, Inc.
 Credit Opportunities Fund (A), LLC
 Credit Suisse Securities (USA) LLC
 Crescent I, L.P.
 Crews And Associates, Inc.
 Criminal Justice Information System
 Crowell Weedon & Co
 Crown Managed Accounts for and on behalf of Crown/PW SP
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  CRS Master Fund, L.P.
  CRUFON CONSTRUCTION CORP
  CSA Architects & Engineers, LLP
  Culebra Conservation and Development Authority
  culptor SC II, LP (f/k/a OZSC II L.P.)
  Cynthia Cruz Ernrnanuelli
  Cyrus Capital Partners, L.P.
  Cyrus Opportunities Master Fund II, Ltd.
  Cyrus Select Opportunities Master Fund, Ltd
  Cyrus Special Strategies Master Fund, L.P.
 D Lerner Associates
 DTDoan
 D. A. Davidson & Co.
 Daniel Almeida Medina
 Daniel M. McDermott
 Daniel Molina Lopez, Esq.
 Datas Access Communication Inc.
 Davenport & Company LLC
 David A. Skeel Jr., Member of the Board
 David Backens
 David Carrion Baralt
 David J. Gaynor Tee U/A Dtd 02/23/2005 David J. Gaynor Trust
 Davidson Kempner Capital Management LP
 Davidson Kempner Distressed Opportunities Fund LP
 Davidson Kempner Distressed Opportunities International Ltd.
 Davidson Kempner Institutional Partners, L.P.
 Davidson Kempner International, Ltd.
 Davidson Kempner Partners
 Davis Polk & Wardwell LLP
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 De Diego Law Offices, PSC
 Debevoise & Plimpton, LLP
 Decagon Holdings 1, L.L.C.
 Decagon Holdings 10, L.L.C.
 Decagon Holdings 2, L.L.C.
 Decagon Holdings 3, L.L.C.
 Decagon Holdings 4, L.L.C.
 Decagon Holdings 5, L.L.C.
 Decagon Holdings 6, L.L.C.
 Decagon Holdings 7, L.L.C.
 Decagon Holdings 8, L.L.C.
 Decagon Holdings 9, L.L.C.
 Dechert, LLP
 Del Valle Group, SP
 Delgado & Fernandez, LLC
 Delgado Miranda Law Offices, LLC
 Delia E. Vizcarrondo
 Delsa B. Minster
 Departamento de Justicia de Puerto Rico
 Department of Agriculture
 Department of Consumer Affairs
 Department of Correction and Rehabilitation
 Department of Defense
 Department of Economic Development and Commerce
 Department of Education
 Department of Energy
 Department of Family
 Department of Health
Department of Homeland Security
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 Department of Housing
 Department of Housing and Urban Development
 Department of Human and Health Services
 Department of Justice
 Department of Justice - Office of General Solicitor
 Department of Justice - Office of the Inspector General
 Department of Labor and Human Resources
 Department of Natural and Environmental Resources
 Department of Public Safety
 Department of Sports and Recreation
 Department of State
 Department of the Family
 Department of the Interior
 Department of Transportation
 Department of Transportation and Public Works
 Department of Treasury
 Department of Veterans Affairs
 Depository Trust Company
 Dept of Economic Development and Commerce
 DEPTO TRABAJO Y RECURSOS HUMANOS
 Desarrollo Comunicologico de Arecibo Inc.
 Destilerias Serralles, Inc.
 Deutsche Bank Securities Inc.
 Development & Construction Law Group, LLC
 DEYA ELEVATOR SERVICE INC
 Diabel Del C. Colon Lugo
 Diana Guzman Webb
 Diana I. Madera Heredia
 Diana Iris Morales Lopez
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 Diana Rosa Jirau Rovira
 Diane Silverman
 Diaz Soto Law Office
 DiCicco Gulman and Company
 Didacticos, Inc.
 Diego Corral Gonzalez
 Distribuidora Blanco, Inc.
 Distribuidora Lebron Inc.
 DLA Piper (Puerto Rico), LLC
 DLA Piper, LLP (US)
 Doctor's Center Hospital, Inc.
 Domingo Buono Ruiz
 Donald L. McDonald
 Donna A. Maldonado-Rivera
 Doral Financial Corporation
 Dr. Carlos Suarez Vazquez
 Dr. Katherine Betts-Martin
 DRC CORPORATION
 Drivetrain, LLC, as the Creditors' Trustee for Doral Financial Corporation
 Duff & Phelps LLC
 Dulce M. De Hostos
 E*Trade Securities LLC
 E. Cardona & Asociados, Inc.
 Earle PR Investments LLC
 Eastern America Insurance Agency, Inc.
 EcoElectrica, L.P.
 Ecolift Corporation
 Economic and Statistics Administrations
 Economic Development Bank for Puerto Rico
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 Edda M. Arroyo Matos
 Edgar Donnenech
 Edgar M. Esquilin Monge
 Edgardo Barreto Law Office
 Edgardo Munoz, PSC
 Edge Legal Strategies, PSC
 Edgordo Seda Arroyo
 Ediciones Santillana, Inc.
 EDIFICIO BULA, INC.
 Editorial Panamericana, Inc.
 EDN Consulting Group, LLC
 Edna Rozas
 EDUARDOARTAUGOMEZ
 Eduardo      Bhatia     Gautier
 Educational Consultants, P.S.C.
 Educational Development Group Inc.
 Educree: Consultores Educativos Inc.
 Edward D. Jones & Corp.
 Edward Valdes L!auger
 Edward Zayas
 Edwin F. Alicea Liciaga
 Edwin F. Rodriguez
 Edwin Maldonado Santiago
 EGJ Health Consulting LLC
 Eileen Maria Coffey
 Eje Puerto Rico, Inc.
 El Puente de Williamsburg, Inc. - Enlace de Accion Climatica
 Elderly and Retired People Advocate Office
 Elian N. Escalante De Jesus, Esq.
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 Elias E Hijos, Inc.
 Elias Sanchez-Sifonte
 Eliezer Santana Baez
 Elizabeth Gonzalez
 Elizabeth L. Anderson
 Elizabeth L. Anderson (Revocable Trust 10/22/2012)
 Elizabeth Leitzes
 Ellen Levine
 Ellen Metzger
 Ellen Winslow
 Eloy Gutierrez
 Elsie C. Brugueras
 Elvira A. Gautier Carbonell
 Emergency and Disaster Management Bureau
 Emergency Management and Disaster Admin Agency
 Emergency Medical Services Corps
 Emilio Colon Beltran
 Emilio Miranda-Ramirez
 Emma M. De Muniz
 Emmanuel Aponte-Colon
 Emmanuel Rodriguez Collazo
 Employees' Retirement System (ERS)
 Employment and Training Enterprises Corporation
 Empresas Arr Inc.
 Empresas Loyola, Inc.
 Emso Asset Management Limited
 Encanto Restaurants, Inc.
 Encody Inc.
 Enelia Russe
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 Enelida Rodriguez
 Energy Affairs Office
 Energy Commission
 England, National Association
 Enrique Alfonso Sabater
 Enrique Carrillo
 Enrique Castillo Toro
 Enrique Vazquez Quintana
 Enterprise Services Caribe, LLC
 Environmental Protection Agency
 Environmental Quality Board
 EP Canyon Ltd.
 Epiq Systems
 Erasto Zayas Lopez
 erfecto Crespo Bermudez
 Eric Perez Torres
 Ernesto L. Ramirez Torres
 Ernesto Zayas Lopez
 Ernst&Young
 Ernst& Young Puerto Rico, LLC
 ESC Group, Inc.
 Estate of Carlos A. Quilichini Roig
 Estate of Carmen D. Jimenez-Gandara
 Estate of Delia Hernandez
 Estate of Edward P. Giaimo, Jr.
 Estate of Jose A. Roman-Toledo
 Estate of Onelia Alicea
 Estela Del Valle Rullan
 Estrada Bus Line, Inc.
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  Estrella, LLC
  Estudios Tecnicos, Inc.
  Evelyn Ramirez Garraton
  Evertec Group, LLC
  Evertec, Inc.
 Evertee Group LLC
 Excalibur Technologies Corp.
 Excelerate Energy Puerto Rico, LLC
 Explora Centro Academico Y Terapeutico LLC
 Faccio & Pabon Roca
 Facsimile Paper Connection Corp.
 Fact Enterprises LLC
 Faegre Baker Daniels, LLP
 Family and Children Administration
 Farm Insurance Corporation of Puerto Rico
 Farmstead Capital Management, LLC
 FCO Advisors LP
 FCO Special Opportunities (A I) LP
 FCO Special Opportunities (DI) LP
 FCO Special Opportunities (El) LLC
 FCO Special Opportunities (El) LLC - Master Series 1 Fundamental Credit Opportunities Master Fund
 LP
 FDR 1500 Corp
 Federaci6n de Maestros de Puerto Rico
 Federal Affairs Administration
 Federal Communications Commission (FCC)
 Federal Emergency Management Agency (FEMA)
 Federal Home Loan Mortgage Corporation
 Fegan Scott LLC
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  Feldesman Tucker Leifer Fidell, LLP
 Felix J. Montanez-Miranda
 Fernandez Cuyar Rovira & Pla LLC
  Fernando Perez Gutierrez
 Ferraiuoli, LLC
 Ferrari Law, PSC
 Ferrovial Agroman, SA
 Ferrovial Agroman, SA & TEC General Contractors, Corp.
 Fidecoop, Cooperativa De Ahorro Y Credito De Rincon
 Fideicomiso Blanco Bou
 Fideicomiso Del Valle Martinez II
 Fideicomiso Encarlan III
 Fideicomiso Hernandez Castrodad
 Fideicomiso Lugo Rivera
 Fideicomiso Mercado Riera
 Fideicomiso Plaza
 Fidelity and Deposit Co. of Maryland
 Fiduciary SSB
 Fifth Third Bank
 Figueroa y Morgade Law
 Filsinger Energy Partners, Inc
 Financial Guaranty Insurance Company
 Finca Matilde, Inc.
 Finca Perseverancia, Inc.
 Fine Arts Center Corporation
 Fir Tree Capital Opportunity Master Fund III, LP
 Fir Tree Capital Opportunity Master Fund, LP
 Fir Tree Partners
 Fir Tree Value Master Fund, LP
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  First Hospital Panamericano, Inc.
 FIRST MEDICAL HEALTH PLAN,INC.
 First Pacific Advisors, LLC
 First Southwest Company
 First Transit of Puerto Rico, Inc
 Fiscal Agency and Financial Advisory Authority
 Flor Zayas De Navarro
 Florence Quilichini Paz
 Foley & Lardner LLP
 Fonda de Inversion y Desarrollo Cooperativo, Inc.
 Forcelink Corp.
 Forculus Communications, LLC
 Forculus Strategic Communications, LLC
 Fore Multi Strategy Master Fund, Ltd.
 Forensics Science Bureau
 Fortufio Law
 FP+ l,LLC
 FPA Crescent Fund, a Series ofFPA Funds Trust
 FPA Global Opportunity Fund, a Series ofFPA Hawkeye Fund, LLC
 FPA Hawkeye Fund, a Series ofFPA Hawkeye Fund, LLC
 FPA Select Drawdown Fund L.P.
 FPA Select Fund,L.P.
 FPA Value Partners Fund, a Series ofFPA Hawkeye Fund, LLC
 Frances Bothwell del Toro
 Frances Bragan Valldejuly
 Francisco Brigantty
 Francisco Diaz Lopez
 Francisco Gonzalez Law Office
 Francisco Leoni Charles
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  Francisco Levy Hija, Inc.
  Francisco Pares Alicea
 Francois May
  Franklin Advisers, Inc.
  Franklin Mutual Advisers LLC
  Fred A. Levine
  Frente Unido de Policias Organizados
  Frente Unido de Policias, Concilio Nacional de Policias
  Fridma Corporation
  FT COC (E) Holdings, LLC
  FT SOP IV Holdings, LLC
  FT! Consulting, Inc.
  Fundador Albarran Irizarry
  Fundamental Credit Opportunities Master Fund LP
  Funeraria Shalom Memorial Inc.
  Fusion Works, Inc.
  G RG ENGINEERINGS E
  G. Carlo-Altieri Law Offices, LLC
  Gabriel Albarran-Buono
  GAM Realty LLC
  Garay Massey Law Office
  Garcia-Arregui & Fullana PSC
  Garffer & Jusino Attorneys at Law
  GDB Public Entity Trust
  GEC Risk Advisory, LLC
  Genaro Herrera Dos Reis
  General Court of Justice
  General Investment LLC
  General Services Administration
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  GENESIS SECURITY SERVICES INC
  Genesis Security Services, Inc.
  Genovese Joblove & Batista, P.A.
  George E. Reed Jr.
  George K. Baum & Company
  Gerald Leitzes
  Gerard Ramos-Martin
  Gerardo Ferracane
  Gerena Law Office
  German Ojeda
 German Torres Berrios
  German Uribe
  Gerryanne Ramos
 Gersh International PR, LLC
 Gerson Gonzalez-Ricano
 GF Solutions, Inc.
 Gibson, Dunn & Crutcher, LLP
 Gierbolini & Carroll Law Offices, P.S.C.
 Gila, LLC
 GILBERTO ARES CANDELARIA
 Gilda P. Rovira
 Ginorly Maldonado
 Girard Manufacturing, Inc.
 Gladys B. Suarez Dominguez
 Gladys Garcia-Rubiera
 Glenda Colon-Figueroa
 Glendon Opportunities Fund, L.P.
 Global Flexible Fund, a Sub-Fund ofNedgroup Investment Funds PLC
 Gloria M. Esteva Marques
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  GM Security Technologies, Inc.
  GMO Credit Opportunities Fund, L.P.
 GMO Global Real Return (UCITS) Fund, a sub-fund of GMO Funds plc
  GMO Implementation Fund, a series of GMO Trust GMO Credit Opportunities Fund, L.P.
 GMS Group, LLC
 Godreau & Gonzalez Law, LLC
 GoldenTree Asset Management LP
 Goldman Antonetti & Cordova, LLC
 Goldman Sachs & Co.
 Goldman Sachs Asset Management, LP
 Goldman, Antonetti & Cordova, LLC
 Gonzalez Lopez & Lopez Adames LLC
 Gonzalez Munoz Law Offices, PSC
 Gonzalez Padin Realty Company, Inc.
 Goodwin Procter LLP
 Gordel Capital Limited
 Gov. Alejandro Garcia Padilla, Ex-Officio Member of the Board
 Governing Board of the University of Puerto Rico
 Government Development Bank for Puerto Rico
 Government Employee Retirement System (ERS)
 Government Ethics Office
 Grace Arroyo Negron
 Grainger Caribe, Inc.
 Great Educational Services Corporation
 Greenberg Traurig, LLP
 Grisel! Cuevas-Rodriguez
 GT Fixed Income Fund LP
 Guillermo Irizarry
 Guillermo Marxuach
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  Guillermo Ramos Luifia
  Gui-Mer-Fe Inc.
  Guy G. Gebhardt
 Hacienda
  Haddock Acevedo
 Hagens Berman Sobol Shapiro LLP
 HALS,PSC
  Harriet Aponte
 Harry Anduze
 Harry Anduze Montano Law Offices
 Hato Rey Cinema Corp.
 Haydee Lopez-Duprey
 HD! Global Insurance Company
 Health Advocate Office
 Health Insurance Administration (ASES)
 Hector Figueroa Vincenty
 Hector L. Rivera Rosario
 Hector M. Correa Correa
 Hector X. Perez
 Heidrick & Struggles
 Helvia Cruz Ybarra
 Henessy Ravelo Jaquez
 Henry H. Rexach
 Heriberto Marin Centeno
 Heriberto Mattei Torres
 Heriberto Nieves Dominguez
 Hermandad de Empleados de! Fondo de! Seguro de! Estado, Inc.
 Hermanos Torres Torres, Inc.
 Hernandez & Rodriguez Law Offices
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 Hemandez-Oharriz & Santiago Law Firm, PSC
 Hewlett Packard Puerto Rico, BV LLC
 Highfields Capital I LP
 Highfields Capital II LP
 Highfields Capital III LP
 Hilda A. Izquierdo Stella
 Hilda 0. Cartagena
 Hilliard, Lyons LLC
 Hilltop Securities Inc.
 Hiram Perez Soto
 Hogan Lovells US, LLP
 Holland & Knight, LLP
 Home Medical Equipment Inc.
 Hon. Luis G. Fortufio
 Honorable Rosanna Lopez Le6n
  Horse Racing Administration
 Horse Racing Industry and Sport Administration
 Hospira Puerto Rico, LLC
 Hospital General Castaner, Inc.
 Hospital San Juan Capestrano, Inc
  House of Representatives
  Housing Financing Authority (HFA)
  HPM Foundation, Inc.
 Huellas Therapy Corp.
  Hugo L. Quilichini
  Human Rights Commission
  Hunton Andrews Kurth LLP
 I.D.E.A., Inc.
 IanMehned
Case:17-03283-LTS Doc#:24695-7 Filed:06/30/23 Entered:06/30/23 12:18:50 Desc:
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  !DSC LLC d/b/a Infrastructure Opportunity Fund
  IKON Solutions, Inc.
  Ileana Ortiz-Santiago
  Ilia M. Perez
  INCOM INVESTMENTS CORP.
  Independent Consumer Protection Office
 Independent Union Authority of Acueductis
  Indian Harbor Insurance Company
  Indiana & Williams, PSC
 Industrial Commission
  Industrial Development Company (PRIDCO)
  Industrial Tax Exemption Office
 Ines Mejias
 Infrastructure Financing Authority
 Inglesea Capital LLC
 Ingrid L. Carlson
 Irunobiliaria Levy, inc.
 Irunobiliaria San Alberto, Inc.
 Innovative Solutions Inc.
 Insight Management Group, Inc.
 Inspectorate America Corporation
 Institucion Educativa Nets, LLC
 Institute of Forensic Sciences
 Institute of Puerto Rican Culture
 Institute of Statistics
 Institutional Trust of the National Guard of Puerto Rico
 Instituto de Competitividad Y Sostenibilidad Ecomomica de Puerto Rico
 Insular Union of Industrial Workers and Electrical Constructions, Union Workers Housing Bank,
 Integra Design Group PSC
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 Integrand Assurance Company
 Intelutions, Inc.
 Interactive Brokers Retail Equity Clearing
 Interarnerican Turnkey Development Co., Inc.
 Interarnericas Turnkey, Inc.
 Internal Revenue Service
 International Automotive Distributors Group, LLC
 International Business Machines Corporation
 International Surveillance Services Corporation
 Intervoice Communication of Puerto Rico Inc.
 Intl FCStone Financial Inc.
 Invesco Advisers, Inc.
 Invesco/Oppenheimer Funds
 Investigation, Processing and Appellate Commission
 Iris I. Cantres Quinones
 Irrnita Guzman De Amador
 Isla de! Rio, Inc
 Isla Lab Products, LLC
 Ismael L. Purcell Soler
 Ismael Marrero Rolon
 Ismael Vincenty Perez
 Israel Roldan Gonzalez & Isis Aimee Roldan Marquez
 Ivan Ayala
 Ivan Fuentes Vazquez
 Ivan Montalvo
 Ivelisse Albarran JNT TEN
 Ivelisse Buono
 Ivelisse Buono Albarran
 Ivette Bonet Rivera
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  Ivonne Gonzalez-Morales
  Ivonne Ramirez-Aneses
  Ivonne T. Vidal
  J. Jaramillo Insurance, Inc.
  J.F. Educational Services Inc.
  J.P. Morgan Chase & Co.
  J.P. Morgan Securities LLC
  J.P. Morgan Securities LLC/IPMC aka or fka J.P. Morgan
 Jacana Holdings I LLC
 Jacana Holdings II LLC
 Jacana Holdings III LLC
 Jacana Holdings IV LLC
 Jacana Holdings V LLC
  Jack Goldikener
  Jack Katz
 Jaime A. El Koury, General Counsel of the Board
 Jaime B. Fuster Estate, Comprised By Maria J. Zalduondo Viera and Jaime and Maria L. Fuster
 Zalduondo
 Jaime Banchs Pieretti
 Jaime Ortiz Rodriguez
 Jaime Rodriguez Aviles
 Jake Gartman
 James B. Moore
 James E. Olsen
 James Law Offices
 Jane A. Becker Whitaker, Esq.
 Janney Montgomery Scott LLC
 Javier A. Aponte Machado
 Javier Andino-Gaudin
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  Javier Capestany
  Javier Cerra Fernandez M.D.
  Javier Cordova Iturregui
  Javier Mandry-Mercado
  Javier Perez-Rivera
  Jayson 0. Padilla
  Jean C. Garcia
  Jean Philip Gauthier Law Offices
  Jeanette Torres Camacho
  Jefferies Group LLC
  Jeffries, LLC
  Jenner & Block, LLP
  Jennifer Jean Stitt
  Jeronimo Esteve Abril
  Jessica G. Davis
  Jessica G. Davis and Andrew P. Davis, Trustees U/A 8/18/15: Jessica G. Davis 2015 Grat I
  Jessica M. Quilichini Ortiz
  Jesus M. Rodriguez Rosa
  Jimenez, Graffam & Lausell
  JLG CONSULTING ENGINEERING, P.S.C.
 JLM Transporte, Inc.
 JNL Multi-Manager Alternative Fund, a Series of JNL Services Trust
 Jo Ellen Bleiweiss Revocable Trust
 Joana Rodriguez
 Joaquin Gutierrez Fernandez
 Joel Isander Cuadrado Delgado
 Joel R. Almodovar Rivera
 John C. Gartland and Katherine A. Gartland Trust UA 03/01/2016
 John D. Goeke
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  John G. Sanchez Santos
  John Hancock Investments
  John J. Hefler and Elena A. Hefler as Trustees for the Hefler Family Trust
  John Rojas Velez
  John Santos Russo
  Johnjavi Corporation
  Jolyne D'Ambrosio
  Jones Day
  Jordi Bofill
  Jorge I. Quinones
  Jorge Lucas Perez Valdivieso Torrue!la
  Jorge Luis Guerrero-Calderon
  Jorge P. Sala Colon
  Jorge Plard
  Jorge R. Quintana-Lajara
  Jorge Valdes Llauger
  Jose A. Cepeda Retirement Plan Represented By UBS Trust Company Of PR
  Jose A. Cuevas Sanchez
  Jose A. Leon Rosario
  Jose Alberto Maymo Azize
  Jose Angel Almodovar Collazo
  Jose Angel Rey
  Jose B. Carrion III, Member of the Board
  Jose C. Diaz Vega
  Jose E. Franco Gomez
  Jose E. Janer Velazquez
  Jose Emique Ortiz Rivera
  Jose F. Rodriguez
  Jose Francisco Gonzalez-Heres
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  Jose Lopez Medina
  Jose Luis Barrios-Ramos
  Jose Luis Cumbas Torres
  Jose M. Bonnin
  Jose Marin
  Jose N. Rivera Vilar
  Jose Orbi
  Jose Ortiz Bibiloni
  Jose R. Cardona Jiminan
  Jose R. Gonzalez, Member of the Board
  Jose R. Mendez Bonnin
  Jose R. Portilla
  Jose R. Toro Rivera
  Jose Ramon Gonzalez Passalacqua
  Jose Ramon Rivera Rivera
  Jose Santiago, Inc.
  Jose W. Cartagena
  Josefina Guinot Melendez
  Josefina Maristany
  Josefina Varela Gonzalez
  Joshua Gonze
  Josue Aquino-Colon
  Josue Ismael Saavedra Vera
  JPMorgan Chase Bank, N.A./Custodial Trust Company
  JPMorgan Chase Bank, National Association
  JPMorgan Chase Bank/Correspondence Clearing
  JRAF Law Firm, PSC
  JRJ Consultants & Legal Advisors, LLLC
  Juan A. Hernandez Rivera, Esq.
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  Juan Alberto Santiago Melendez
  Juan Alberto Torres Berrios
  Juan B. Soto Law Offices, PSC
  Juan Buono Alcaraz
  Juan C. Leon Santiago
  Juan C. Rodriguez Centeno
  Juan G. Ortiz de la Renta
  Juan L. Santa Hernandez
  Juan M. Lopez Calderon
  Juan Marroig
  Juan Ortiz
  Juan R. Figueroa Laugier
  Juan Ramon Rivera Font, Esq.
  Juan Reines Ortiz Retirement Plan Represented by UBS Trust Company of PR
  Juan Vazquez Crespo
  Judge Christopher M. Klein
  Judge Judith G. Dein
 Judge Laura Taylor Swain
  Judge Nancy Friedman Atlas
 Judge Roberta A. Colton
 Judge Thomas L. Ambro
 Judge Victor Marrero
 Judiciary Retirement System
 Julia Margarita Gonzalez Passalacqua
 Julie I. Escudero
 Julio A. Rivera Gonzalez
 Julio E Leandry-Hernandez
 Julio Guzman Carcache
 Julio H. Sepulveda Ramos
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  Julio Rance! Lopez
  Junior Bus Line, Inc.
  Junta de! Centro de Salud Comunal Dr. Jose S. Belaval, Inc.
  Kane Russell Coleman Logan PC
  Kanoso Auto Sales Inc.
  Karen Forman
  Karen Odalys Fuentes Rivera
  Karen Rutledge
  KARIMAR CONSTRUCTION INC
  Karl Walder
  Karon LLC
  Kasowitz Benson Torres LLP
  Katherine Emile Ramos
  Kathleen A. McDonough
  Kathy Karen Key Trust
  KDC Solar,LLC
  Keila Robles Figueroa
  Keiry Williamson
  Kelly Services Puerto Rico
  Kelly Services, Inc.
  Kerenny Torres
  Keybanc Cap Mkts Inc.
  Keybank National Association
  Kid's Therapy Services, Inc.
  Klee, Tuchin, Bogdanoff & Stern, LLP
 Knighthead Capital Management, LLC
 Kobre & Kim, LLP
 KPMG,LLC
  Kramer Levin Naftalis & Frankel, LLP
Case:17-03283-LTS Doc#:24695-7 Filed:06/30/23 Entered:06/30/23 12:18:50 Desc:
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 Kristine K. Sneeringer Trust
 Kroma Advertising, Inc.
 Kyle Rifkind
 L.L.A.C., Inc.
 La Sucesion De Norman Eugene Parkhurst Rodriguez, Compuesta Por Sus Unicos Y Universales
 Herederos Norman Parkhurst Valderas, Francis Parkhurst Valderas, Bryant Parkhurst Valderas Y Su
 Viuda Carmen P.
 Labor Development Administration
 Labor Relations Board
 Laboratories Ramirez Inc.
 Laguna Ray, L.L.C.
 Land Administration
 Land Authority of Puerto Rico
 Lannan Foundation
 Larry Hamilton
 Las Americas Investment Group
 Las Monjas Realty II, SE
 Latham & Watkins LLP
 Laura E. Clirnent Garcia
 Law Firm of Fernando E. Agrait
 Law Office Am'bal Acevedo-Vila
 Law Office of Frank Pola, Jr.
 Law Offices of Giselle Lopez Soler
 Law Offices of John E. Mudd
 Law Offices of Michael Craig McCall
 Law Offices Wolf Popper P.S.C.
 Lawful Constitutional Debt Coalition
 Lawrence B. Dvores
 Lazard Cap Mkts LLC
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  Learning Alliance LLC
  Ledesma& Vargas, LLC
  Lee Properties, Inc.
  Legal Aid Clinic, UIA
  Legal Partners, PSC
  Legislative Assembly
  Lemuel Negron Colon
  Leslie Jay Bonilla Sauder
  Leslie Rubero Multi Services
  Levy Echeandia Trust
  Lex Claims, LLC
  Lex Services PSC
  Liana Rivera Olivieri
  Liberty Cablevision of Puerto Rico, LLC
  Lida Orta Anes
  Lideliz Candelario Candelario
  Liedo Alberto Pico Jr.
  Light Gas Corporation
  Lighthouse Translations
  Lilliam Janey Disla Mencia
  Lillian Guzman
  Linares Palacios Law Offices
  Linda Nealy
  Linkactiv, Inc.
  Lisa Shub
  Litman Gregory Masters Alternative Strategies Fnnd, a Series of Litman Gregory Funds Trust
  Lizette M. Abraham
  Lizette Rexach Feliciano
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  Lloyd's Syndicates MIT 3210, KLN 510, MMX 2010, CSL 1084, TMK 1880, AML 2001, and BRT 2987
  Subscribing to Policy No. B080414390F14
  Lloyd's Syndicates MSP 318, WRB 1967, and AGM 2488 Subscribing to Policy No. B0804Ql 1263F14
  LMA SPC for and on behalf of Map 98 Segregated Portfolio
  LMAP 903 Limited
  Local Redevelopment Authority of the Lands and Facilities of Naval Station Roosevelt Roads
  Lolita Gandarilla de Casasnovas
  Longo En-tech Puerto Rico, Inc.
  Lopez Sanchez & Pirillo, LLC
  Lord Electric Company of Puerto Rico
  Louis Jules Marin
  Lourdes Arce Rivera
  Lourdes Morales
  Lourdes Perdigon
  LPL Financial Corporation
  LS Innovative Education Center, Inc.
  LS Institutional High Income Fund
  LS Strategic Income Fund
  Lucas Perez Valdivieso Torruella
  Lugo Mender Group, LLC
  Lugo-Emanuelli Law Offices
  Luis A Rivera Siaca
  Luis A. Marquez Garcia
  Luis A. Toro Perez M.D.
  Luis Baerga
  Luis E. Almeida Marin
  Luis Enrique Vazquez-Zayas
  Luis F. Gonzalez-Colon
  Luis Fred Salgado, Esq.
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  Luis G. Lajara Borelli
  Luis Garraton Martin
  LUIS J. COSTAS-RUSSELL
  Luis J. Torruella
  Luis M. Olazabal
  Luis Modesto Rodriguez Rivera
  Luis Montes-Valentin
  Luis R. Rivera
  Luis R. Santini Gaudier
  Luis R. Santini-Gaudier
  Luis Santini Lopez
  Luis T. Toro Ramos
  Luisa Murray Soto
  Luskin Stem & Eisler LLP
  Luz D. Millan
  Luz Iraida Rodriguez De Vazquez
  Luz J. Pasarell
  Luz M Arroyo
  Luz M. Arroyo Rivera
  Luz M. Carrasquillo Flores
  Luz Pizarro-Correa
  Lydia Pellot
  Lynette Castillo
  M Solar Generating, LLC
  M.H. Davidson & Co.
  M.L. & R.E. Law Finn
  MACAM S.E.
  Magdalena Maldonado Rivera
  Malgor & Co. Inc.
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  Management Consultants & Computer Services. Inc
  Mangual's Office Cleaning Service Inc.
  Manpower
  ManpowerGroup, Inc.
 Manuel A. Quilichlni Teissonniere
  Manuel Dos Santos
  Manuel Natal-Albelo
 Manufacturers And Traders Trust Company
 Mapfre Praico Insurance Company
 MAPFRE-PRAICO INSURANCE COMPANY
 Marathon Asset Management, LP
 Marble Ridge
 Marchand !CS Group
 Marcia Gil Caraballo
 Marco A. Albarran Portilla
 Marco A. Albarran TC
 Marcos A. Lopez
 Marcos A. Roman-Lopez
 Marcos De Dragoni
 Margarita Guzman
 Margarita Hurtado Arroyo
 Margarita Maria Vincenty
 MARGARITA WILSON MERCADO
 MARGARO LOPEZ, INC.
 Maria A. Martinez
 Maria Aguayo De Dragoni
 Maria Baca Alfaro
 Maria Carmen Prats TIC
 Maria Colon Crispin
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  Maria Consuelo Figueroa Torres
  Maria D. Giannirakis
  Maria Del C. Castro Rivera
 Maria de! C. Lopez
 Maria Del C. Reyes Madrazo
  Maria Dolores Rodriguez Becerra
  Maria E. Frontera Aymat
  Maria E. Vicens Rivera
  Maria Elena Alonso Fuentes
  Maria Fernanda Velez Pastrana
  Maria I. Rivera Sanchez Retirement Plan, Represented By UBS Trust Company Of PR
  Maria Ines Suarez Perez-Guerra
  Maria Isabel Suarez
  Maria Ivonne Viguie-Fernandez
  Maria Judith Diaz
  Maria Judith Marchand-Sanchez
  Maria M. Candelas Guzman
 Maria M. Freiria Garraton
  Maria M. Morris Dapena
 Maria Mendez Crespo
 Maria R. Piza
  Maria Rodriguez Hernandez
  Maria Teresa San Miguel
  Maria Teresita Martin
  Maria Y. Viguie Fernandez
 Maria-Ines Suarez Perez-Guerra
 Mariani Franco Law, P.S.C.
  Mariano E. Gonzalez Diez
 Maribel Flores Martin
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  Marichal, Hernandez, Santiago & Juarbe, LLC
  Mariloly Orozco
  Marilyn Chinea
  Marini Pietrantoni Muniz, LLC
  Mario B. Munoz Torres
  Maritime Shipping Authority
  Maritza Maldonado Lopez
  Maritza Nieves Torres
  Marjorie Casillas Hernandez
  Mark Elliott
  Markel Europe
  Marlene Jaquez Urea
  Marta Calderon
  Marta L. Loubriel
  Marta M. Toro Lopez
  Martami, Inc
 Martin J. Wah Reyes
 Martin Pena Canal ENLACE Project Corporation
 Martinez-Alvarez, Menendez Cortada & Lefranc Romero, PSC
 Marylin Gonzalez Toro
 Maslon LLP
 Mason Capital Management, LLC
 Mason Capital Master Fund, L.P.
 Master Link Corp.
 Matthew May
 Matthias Rieker
 Mauricio Shub
 Maximiliano Trujillo-Gonzalez, Esq.
 Mayaguez Cinema, Corp.
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  Mayaguezanos por la Salud y el Ambiente, Inc.
 Mayra Gardon Stella
 Mayra Graj alsperez
 Mayra I. Ramos Roman
 Mayra Lopez-Duprey
 Mayra Olavarria Cruz
 MBIA Insurance Corporation
 MBIA,Inc.
 MC-21 LLC
 MCCONNELL VALDES LLC
 McConnell Valdes, LLC
 MCDLaw,LLC
 McDermott Will and Emery
 McGuire Woods, LLC
 McKinsey & Company, Inc.
 MCP Holdings Master LP
 MCS Advantage, Inc.
 MCS Health Management Options, Inc.
 MCS Life Insurance Company
 MCZY Bus Services Inc.
 Medical Card System, Inc.
 Medical Services Administration (ASEM)
 Medicoop
 Mehned Investment Group
 Members of Sucesi6n Pastor Mandry Nones
 Mendez & Co. Inc.
 Mental Health and Addiction Services Administration
 Mental Health Services and Addiction Control Administration
 Merced Capital, L.P.
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  Merced Partners IV, L.P.
  Merced Partners Limited Partnership
  Merced Partners V, L.P.
  Mercedes J. Almeyda Domenech
  Mercedes Vicente Benitez
  Merck Sharp & Dahme (I.A.) I.LC
  Merin Lizzette Boada Molina
  Merrill Lynch Capital Services, Inc.
  Merrill Lynch Pierce Fenner & Smith/Fixed Income
  Merrill Lynch, Pierce Fenner & Smith Safekeeping
  Merrill Lynch, Pierce, Fenner & Smith Incorporated
  Mesirow Financial, Inc.
  Metric Engineering, Inc.
  Metro Center Associates
  Metro Pavia Health System
  MGIC Indemnity Corporation
  Michael A. Gonzalez Vega
  Michael E. Danuz Reyes
  Michael J. Brown
  Michael J. Seralles
  Michael Melendez
  Michica International Co., Inc.
  Microsoft Corporation
  Migrant Health Center, Inc.
  Miguel A. Beauchamps Ramos
  Miguel Angel Serrano-Urdaz
  Miguel Fabre
  Miguel Ortiz
  Miguel Palou Sabater
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  Miguel Pomales Castro
  Milagros Acevedo
  Milagros Ayoroa Santaliz
  Milagros Castells Santiago
  Milagros Del C. Aponte Hernandez
  Milagros Mendez Arvelo
  Milbank, Tweed, Hadley & McCloy LLP
  Miranda Cruz & Associates, PSC
  Mirela Roznovschi
  Miriam Sanchez Lebron
  Mitchell De Jesus-Soto
  Mitchell F. Winslow
  Mitsubishi Motor Sales of Caribbean, Inc
  Mitsubishi u/f/j Trust & Banking Corporation, New York
  MMM Healthcare, Inc.
  MMM Healthcare, LLC
  Model Forest
  Monarch Alternative Capital LP
  Monarch Alternative Solutions Master Fund Ltd
  Monarch Capital Master Partners II LP
  Monarch Capital Master Partners III LP
  Monarch Capital Master Partners IV LP
  Monarch Debt Recovery Master Fund Ltd.
 Monarch Recovery Ltd.
 Monarch Special Opportunities Master Fund Ltd.
 Monitor SN
 Monserrate Simonet & Gierbolini, LLC
 Monsita Lecaroz Arribas
 Moore & Van Allen PLLC
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  Moore Irrevocable Trust U\A 12/8/87, James B. Moore Trustee, a trust and its trustee
  Moore Revocable Trust USA 12/8/87
  Moranna S. Rios-Robles
  Morell, Bauza, Cartagena & Dapena
  Morgan Keegan & Co
  Morgan Stanley
  Morgan Stanley & Co. LLC
  Morgan Stanley Smith Barney LLC
  Morgan Stanley Wealth Management (On Behalf Of Sakamoto-Hata Living Trust)
  Morgan, Lewis & Beckius LLP
  Morovis Communi1y Health Center, Inc.
  Morrison & Foerster LLP
  MOVIMIENTO DE CONCERTACION CIUDADANA INC.
  MPR Investors LLC
  Mudanzas Torres, Inc.
  Multi Clean Services Inc.
  Munger Tolles & Olson LLP
  Municipal Revenue Collection Center
  Municipalities of Caguas
 Municipalities of San Juan
  Municipali1y of Adjuntas
 Municipali1y of Aguada
 Municipali1y of Aguadilla
 Municipali1y of Aguas Buenas
 Municipali1y of Aibonito
 Municipali1y of Afiasco
 Municipali1y of Arecibo
 Municipali1y of Arroyo
 Municipali1y of Barceloneta
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  Municipality of Barranquitas
  Municipality of Bayamon
 Municipality of Cabo Rojo
  Municipality of Caguas
  Municipality of Camuy
 Municipality of Can6vanas
  Municipality of Carolina
  Municipality of Catano
 Municipality of Cayey
 Municipality of Ceiba
 Municipality of Ciales
 Municipality of Cidra
 Municipality of Coamo
 Municipality of Comerio
  Municipality of Corozal
 Municipality of Culebra
 Municipality of Dorado
  Municipality of Fajardo
 Municipality of Florida
 Municipality of Guanica
 Municipality of Guayama
 Municipality of Guayanilla
 Municipality of Guaynabo
 Municipality of Gurabo
 Municipality of Hatillo
 Municipality ofHormigueros
 Municipality ofHumacao
 Municipality of Isabela
 Municipality of Jayuya
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 Municipality of Juana Diaz
 Municipality of Juncos
 Municipality of Lajas
 Municipality of Lares
 Municipality of Las Marfas
 Municipality of Las Piedras
 Municipality of Loiza
 Municipality of Luquillo
 Municipality ofManatf
 Municipality ofMaricao
 Municipality of Maunabo
 Municipality ofMayagilez
 Municipality ofMoca
 Municipality of Morovis
 Municipality ofNaguabo
 Municipality ofNaranjito
 Municipality of Orocovis
  Municipality of Patillas
 Municipality of Pefiuelas
 Municipality of Ponce
 Municipality of Quebradillas
 Municipality of Rincon
 Municipality of Rio Grande
 Municipality of Sabana Grande
 Municipality of Salinas
 Municipality of San German
 Municipality of San Juan
 Municipality of San Lorenzo
 Municipality of San Sebastian
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 Municipality of Santa Isabel
 Municipality of Toa Alta
 Municipality of Toa Baja
 Municipality of Trujillo Alto
 Municipality ofUtuado
 Municipality of Vega Alta
 Municipality of Vega Baja
 Municipality of Vieques
 Municipality of Villalba
 Municipality of Yabucoa
 Municipality of Yauco
 MUNIZ BURGOS CONTRACTORS, CORP.
 Muniz Melendez Investments Corp.
 Munoz Benitez Brugueras & Cruz
 Musical Arts and Stagecraft Corporation
 Musical Arts Corporation
 Myrta Lopez-Molina
 N. Harris Computer Corporation
 Nancy J. Gargula, United States Trustee for Region 21
 Nancy Pujals
 Narciso Camejo Gonzalez
 Natalie Jaresko, Executive Director & Interim Revitalization Coordinator
 National College of Business and Technology Company, Inc.
 National Copier & Office Supplies, Inc.
 National Financial Services LLC
 National Guard of Puerto Rico
 National Public Finance Guarantee Corporation
 Natixls Investmemt Fund UK ICVC- LS Strategic Income Fund
 Natural Resources Administration
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  Navarro-Cabrer Law Offices
 Nazario Briceno Law Offices, LLC
 Neftalf Soto Santiago
 Nelson D. Rosario Garcia
 NeoMed Center, Inc.
 Netwave Equipment Corp.
 Nevares, Sanchez-Alvarez & Cancel PSC
 Newtyn Partners, LP
 Newtyn TE Partners LP
 Next Level Learning, Inc.
 Nextgen Healthcare, Inc.
 Nexvel Consulting LLC
 NIBA International Corp.
 Nicolas Iturregui Margarita
 Nidec Management Group Retirement Plan, Represented By UBS Trust Company Of PR
 Nilda Navarro-Cabrer
 Noel Zamot, Ex-Revitalization Coordinator
 Nokota Capital Master Fund, L.P.
 Norberto Tomassini
 Norma Bernier Casanova
 Northern Trust Company/Future Fund Accounts
 Northern Trust Company/OCH-ZIFF Capital Management
 Norton Rose Fulbright US LLP
 NTT Data Eas, Inc.

 Nustream Communications Corp
 Nuveen Asset Management, LLC
 Nydia E. Cheverez Rodriguez
 Nydia F. Morales
 Nydia M. Morales
Case:17-03283-LTS Doc#:24695-7 Filed:06/30/23 Entered:06/30/23 12:18:50 Desc:
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 Nydia z. Jimenez Sanchez
  O'Neill & Borges, LLC
  Oak:tree Huntington Investment Fund II, LP
 Oak:tree Opportunities Fund IX (Parallel 2), L.P.
  Oak:tree Opportunities Fund IX (Parallel), LP
  Oak:tree Opportunities Fund IX Delaware, L.P.
  Oak:tree Opportunities Fund IX, L.P.
 Oaktree Opportunities Fund X (Parallel 2), LP
  Oak:tree Opportunities Fund X (Parallel), LP
  Oaktree Opportunities Fund X Holdings (Delaware), L.P.
 Oak:tree Opportunities Fund X, LP
 Oaktree Opps X Holda Ltd.
 Oaktree Value Opportunities Fund Holdings, L.P.
 Oaktree Value Opportunities Fund, L.P.
 Oaktree-Forrest Multi-Strategy, L.L.C.
 Oak:tree-Forrest Multi-Strategy, LLC (Series B)
 Oak:tree-Forrest Strategy, LLC (Series B)
 Oceana Master Fund Ltd.
 Ocher Rose, L.L.C.
 Off Hill Strategies, LLC
 Office for Community and Socioeconomic Development of Puerto Rico
 Office of Administration and Transformation of Human Resources in the Goverrnnent of Puerto Rico
 Office of Court Administration
 Office of Electoral Comptroller
 Office of Goverrnnent Ethics of Puerto Rico
 Office oflndustrial Tax Exemption
 Office of Legislative Services
 Office of Management and Budget
 Office of Municipal Management
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  Office of the Commissioner of Financial Institutions
  Office of the Commissioner oflnsurance
  Office of the Comptroller
  Office of the Financial Institutions Commissioner
  Office of the Governor
  Office of the Inspector General
  Office of the OMBUDSMAN
  Office of the OMBUDSMAN - Elders and Pensioners
  Office of the OMBUDSMAN - Patients and Health
  Office of the OMBUDSMAN - Persons with Disabilities
  Office of the OMBUDSMAN - Veterans
  Office of the OMBUDSMAN - Women
 Office of the Solicitor - Special Independent Prosecutor
  Official Committee of Retired Employees of Puerto Rico
  Old Bellows Partners LP
  Olga I. Trinidad Nieves
 Olga M. Rabell Rosa
 Olimac Manufacturing Corporation
 Oliveras & Ortiz Law Offices, PSC
 Olivieri-Geigel & Co.
 Omar               Cuadrado
 O'Melveny & Myers, LLP
 O'Neill Security & Consultant Serv Inc.
 Oppenheimer & Co. Inc.
 Oppenheimer Funds, Inc.
 Opps Culebra Holdings, L.P.
 Optionsxpress, Inc.
 Oracle America, Inc.
 Oracle Caribbean, Inc.
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  Orben Irizarry Robles
  Oriental Bank
  Orlando Arroyo-Morales
 Orlando Fernandez Law Offices
  Orlando Ortiz-Cintron, Esq.
  Orlando Torres Berrios
  ORONOZ & ORONOZ
  Orrick, Herrington & Sutcliffe, LLP
  Oscar A. Remus Abreu
  Oscar F. Arroyo Oliveras
  Oscar Gonzalez Badillo
  Oscar X. Ocasio Gonzalez
  Osvaldo Antommattei Frontera
  Osvaldo Toledo Martinez, Esq.
  Otero and Associates
  OZ Credit Opportunities Master Fund, Ltd.
  OZ Enhanced Master Fund, Ltd.
  OZ GC Opppportunities Master Fund, Ltd
  OZ Management II, LP
  OZ Management LP
  OZ Master Fund, Ltd.
  OZSCII, L.P.
  P. R. Used Oil Collectors, Inc.
  Pablo Del Valle Rivera
  Pan Amerircan Grain Co., Inc.
  Panaderia la Sevillana, Inc.
  Pandora Select Partners, L.P.
  Pandora Select Partners, LP as Transferee of Syncora Guarantee Inc.
  Parole Board
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  Partnerre Ireland Insurance DAC
  Patricia Hixson
  Patricia L. Seifert
 Pattern Energy Group, Inc.
  Pattern Santa Isabel LLC
  Paul Davis
 Paul Hastings, LLP
  Paul, Weiss, Rifkind, Wharton & Garrison, LLP
 Pavia & Lazaro, PSC
  PBJL Energy Corporation
  PDCM Associates, SE
  Peaje Investments, LLC
  Pearson Education, Inc.
  Pearson Pem P.R., Inc.
  Pedro A. Vargas-Fontanez
  Pedro Carbonera Pardo
 Pedro Cid Martinez
 Pedro Iturregui Margarida
 Pedro L. Casasnovas Balado
 Pedro Manuel Vincenty Guzman
 Pedro Nicot Santana, Esq.
 Pedro R. Callazo
  Pedro Rodriguez Tirado
 Peerless Oil & Chemicals, Inc.
 Pelican Fund LP
 Pension Trustee Advisors, Inc.
  Pentwater Merger Arbitrage Master Fund Ltd.
  People Television, Inc.
 Perfect Cleaning Services, Inc.
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 Performance Chemicals Company, Inc.
 Perkins Coie LLP
 Permal Stone Lion Fund Ltd
 Permits Management Office
 Pershing LLC
 Personnel Recruiting Services, Corp.
 Peter C. Hein
 PFZ Properties, Inc.
 Phoenix Management Services, LLC
 Phyllis A. Hemmerly
 Physician HMO Inc.
 Pico & Blanco, LLC
 Pietrantoni Mendez & Alvarez LLC
 Pilar 0. Bonnin
 Pinehurst Partners, L.P.
 Piper Jaffrey & Co
 PJT Partners
 Plan de Salud Menonita, Inc.
 Planning Board
 Plaza Escorial Cinema, Corp.
 PLUMBING & SEWER CLEANING RUS CORP.
 PNC Bank, National Association
 POLYMER INDUSTRJES INC
 Ponce De Leon Gun Shop Inc.
 Ponce Port Authority
 Popular Auto, LLC
 Popular High Grade Fixed Income Fund, Inc.
 Popular Income Plus Fund, Inc.
 Popular Securities, LLC
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 Popular, Inc.
 Populicom, Inc.
 Port of the Americas Authority
 Ports Authority
 Postage By Phone Reserve Account
 PR and the Caribbean Cardiovascular Center Corp
 PR Aqueduct and Sewer Authority
 PR Federal Affairs Administration
 PR Infrastructure Finance Authority
 PR Maritime Shipping Authority
 PR Medical Services Administration
 Pretrial Services Program
 Prime Clerk, LLC
 Prime Seg 15/00
 Printech, Inc.
 Prisma SPC Holdings Ltd - Segregated Portfolio AG
 Procesos de Informatica, Inc.
 Professional Consulting Psychoeducational Services, LLC
 Professional Records and Information Management, Inc.
 Program of Youth Affairs
 Promotions & Direct, Inc.
 Proskauer Rose, LLP
 Prosol-Utier
 Prospero Tire Export, Inc.
 Providencia Cotto Perez
 PRV Law Office
 PSV & Co,PSC
 Public Broadcasting Corporation
 Public Building Authority
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 Public Corporation for the Supervision and Deposit Insurance of Puerto Rico Cooperatives
 Public Corporation for the Supervision and Insurance of Cooperatives of Puerto Rico
 Public Housing Administration
 Public Service Appellate Commission
 Public Service Commission
 Public Service Regulatory Board
 Public-Private Partnership Authority
 Puerto Nuevo Security Guards, Inc.
 Puerto Rico AAA Portfolio Bond Fund II, Inc.
 Puerto Rico AAA Portfolio Bond Fund, Inc.
 Puerto Rico AAA Portfolio Target Maturity Fund, Inc.
 Puerto Rico and Municipal Islands Transport Authority
 Puerto Rico Aqueduct and Sewer Authority
 Puerto Rico Bathroom Remodeling, Inc.
 Puerto Rico Conservatory of Music Corporation
 Puerto Rico Convention Center District Authority
 Puerto Rico Council on Education
 Puerto Rico Department of Justice
 Puerto Rico Education Council
 Puerto Rico Electric Power Authority
 Puerto Rico Energy Administration
 Puerto Rico Energy Bureau
 Puerto Rico Energy Commission
 Puerto Rico Firefighter Corps
 Puerto Rico Fiscal Agency and Financial Advisory Authority
 Puerto Rico Fixed Income Fund II, Inc.
 Puerto Rico Fixed Income Fund Ill, Inc.
 Puerto Rico Fixed Income Fund IV, Inc.
 Puerto Rico Fixed Income Fund V, Inc.
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  Puerto Rico Fixed Income Fund VI, Inc.
  Puerto Rico Fixed Income Fund, Inc.
  Puerto Rico GNMA & U.S. Government Target Maturity Fund, Inc.
  Puerto Rico Healtb Insurance Administration
  Puerto Rico Highways and Transportation Authority
  Puerto Rico Horse Owners Assocation, Inc.
  Puerto Rico Industrial Development Company
  Puerto Rico Industrial, Tourist, Educational, Medical, and Enviromnental Control Facilities Financing
  Autbority
  Puerto Rico Infrastructure Finance Autbority
  Puerto Rico Integrated Transit Authority
  Puerto Rico Investors Bond Fund I, Inc.
  Puerto Rico Investors Tax- Free Fund III, Inc.
  Puerto Rico Investors Tax- Free Fund Inc. II
 Puerto Rico Investors Tax- Free Fund IV, Inc.
 Puerto Rico Investors Tax- Free Fund V, Inc.
 Puerto Rico Investors Tax- Free Fund VI, Inc.
 Puerto Rico Investors Tax- Free Fund, Inc.
 Puerto Rico Investors Tax-Free Fund V, Inc.
 Puerto Rico Investors Tax-Free Fund, Inc.
 Puerto Rico Land Administration
 Puerto Rico Legal Advocates, PSC
 Puerto Rico Maritime Shipping Authority
 Puerto Rico Medical Defense Insurance Company
 Puerto Rico Medical Services Administration
 Puerto Rico Metropolitan Bus Authority
 Puerto Rico Mortgage-Backed & U.S. Government Securities Fund, Inc.
 Puerto Rico Municipal Finance Agency
 Puerto Rico National Guard
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 Puerto Rico Police Bureau
 Puerto Rico Ports Authority
 Puerto Rico Public Broadcasting Corporation
 Puerto Rico Public Buildings Authority
 Puerto Rico Public Private Partnerships Authority
 Puerto Rico Sales Tax Financing Corporation
 Puerto Rico School of Plastic Arts
 Puerto Rico Supplies Group Inc.
 Puerto Rico Telephone Authority
 Puerto Rico Telephone Company d/b/a Claro
 Puerto Rico Telephone Company, Inc.
 Puerto Rico Tourism Company
 Puerto Rico Trade and Export Company
 PV Properties, Inc.
 PWCM Master Fund Ltd
 Quality & Reliable Services Inc.
 Quality Equipment, Inc.
 Quality Systems, Inc.
 QUEST DIAGNOSTICS OF PUERTO RICO, INC.,
 Quinn Emanuel Urquhart & Sullivan, LLP
 Quinones Vargas Law Offices
 QUINTERO CONSTRUCTION S E
 R Hughes and J Hughes TTee Hughes Family Trust
 R. Cordova Trabajadores Sociales C S P
 R. Hughes and J. Hughes Ttee Hughes Family Trust
 Radames Muniz
 Rae Marie Dougan
 Rafael A. Ortiz-Mendoza
 Rafael A. Quinones Soto
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 Rafael Bonilla Rivera
 Rafael Bracero Torres
 Rafael Cavo Santoni
 Rafael Enrique Ducos Bravo
 Rafael Hernandez Barreras
 Rafael Rodriguez Quintana
 RAFAEL ROMAN-JIMENEZ
 Rafaela Femandez
 Ralphi E. Dominicci Rivera
 Rama Construction LLC
 Ramirez & Co.
 Ramirez and Co., Inc.
 Ramirez Bus Line Inc.
 Ramon A. Bonilla Martinez
 Ramon Colon-Gonzalez
 Ramon M. Ruiz Comas
 Ramon M. Ruiz, Interim Executive Director of the Board
 Ramon Ruiz Comas
 Ramon Torres Rodriguez, Esq.
 Ramon Vidal Nadal
 Ramone E. Morales dba Morales Distributors
 Ramos & Ramos Realty Inc
 Ramos Gonzalez & Toyos Olascoaga, CSP
 Rance! Bus Service, Inc.
 Raoul Smyth
 Raw E. Casasnovas Balado
 Raul Jaime Vila Selles
 Raul Ramirez
 Raylin Bus Line Corp.
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 Raymond James
 Raymond James & Associates, Inc.
 Raymond Rivera Morales
 RB Law Offices
  RBC Capital Markets, LLC
  RBC Dominion Securities Inc./CDS**
  Ready & Responsible Security, Inc.
 Redwood Master Fund, Ltd
 Reed Smith, LLP
 Regions Bank
 REICHARD & ESCALERA LLC
 Reichard & Escalera, LLC
 Reinaldo Vincenty Perez
 Reliable Equipment Corporation
  Reliable Health Services Corp.
 Rene Patricio Lopez-Duprey
 Rene Pinto-Lugo
 Rene Rios Pena
 Rene Torres Ortiz
 Reno & Cavanaugh, PLLC
  ReSun (Barceloneta), LCC
 Retirement Association of AEE
  Rexach & Pic6, CSP
  Rexach Herrnanos, Inc.
  Reyes Contractor Group, Inc.
  Rhonda M. Castillo Ganunill
 Ricardo Alegria
  RICARDO ANTONIO ROSSELLO NEVARES
 Ricardo Estrada Maisonet
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  Ricardo L. Castillo Filippetti, Esq.
  Ricardo L. Ortiz-Colon, Esq.
  Ricardo Levy Echeandia and Lourdes Arce Rivera, abd Laura Levy
  Ricardo R. Fuentes
  Ricardo Rosello Nevares
  Richard D. Seifert
  Richard F. Levy Echeandia
  Richard W. Knapp Credit Shelter Trust S/B/O Margaret A. Knapp 07/28/2016
  Rickenbach Ojeda Attorneys at Law PSC
  Ricoh Puerto Rico, Inc.
  Rincon Health Center, Inc.
  Rio Grande Community Health Center, Inc.
  Rio Hondo Cinema, Corp.
  River Canyon Fund Management, LLC
  Rivera Colon, Rivera Torres & Rios Berly, PSC
  Rivera, Tulia and Ferrer, LLC
 RJ Hughes Sbtulwt Re Hughes UAD 05/28/2012 Robert B. Hughes TTee
 RM Children's Trust
 Robbins, Russell, Englert, Orseck, Untereiner & Sauber, LLP
 Robert B. Faber
  Robert Kazmierski
 Robert Ramos Martin
 Robert W. Baird & Co. Incorporated
 Robert Wong
 Roberto del Toro Morales
 Roberto Luis Camacho Jusino
 Roberto Maldonado Law Office
 Roberto Marrero Diaz
 Roberto Perez Colon
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 Roberto Quiles
 Roberto Torres Lugo
 Roche Diagnostics Corporation
 Rochelle McCullough, LLP
 Rock Solid Technologies, Inc.
 Rocket Learning, LLC
 Rocket Teacher Trruning, LLC
 Rodriguez Banchs, CSP
 Rodriguez Marxuach Law Offices, PSC
 Rodriguez-Parissi & Co., C.S.P.
 Ronald Klempner
 Ronald Ramos
 Ronald Ramos Martin
 Roosevelt & Cross
 Roosevelt Roads Naval Station Redevelopment
 Ropes & Gray LLP
 Rosa E. Lespier Santiago
 Rosa M. Aguayo Pacheco
 Rosa M. Pierluisi
 Rosa Rosario De Morales
 Rosalina Ortiz De Jesus
 Rosario Pacheco
 Rose Marie Flores-Perez
 Rosemarie Vizcarrondo
 Rosendo E. Miranda Lopez, Esq.
 Roshell Soto Garcia
 Rossana Lopez Leon
 Rosso Group, Inc.
 Rothschild & Co US Inc.
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  Roy Robertson
  RPPLaw, PSC
  RRWILLC
  Ruth Valdes de Adsuar
  S & L Development S.E.
  S.H.V.P. Motor Corp.
  Sabiamed Corporation
  Saldana & Saldana Egozcue, PSC
  Saldana, Carvajal & Velez-Rive, PSC
  Salichs Pou & Associates, PSC
  Salud Integral en la Montana
  Salvador Rovira Rodriguez
  Sammy Baez-Figueroa
  Samuel A. Pena Ortiz
 Samuel Gracia-Gracia
 Samuel Rodriguez Claudio
 Sanabria Bauermeister Garcia & Berlo
 Sanchez Pirillo LLC
 Sandra Maclay De Serralles
 Sanford C. Bernstein & Co., LLC
 Santander Asset Management, LLC
 Santander Securities, LLC
 Santi Law Office
 Santos Gonzalez Morales
 Santos Mulero Sierra
 Sara E. De Jesus De Pico
 SarlawLLC
 Saybolt LP
 SB Special Situation Master Fund SPC, Segregated Portfolio D
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  SCHOENFELD Asset Management LP
  School of Plastic Arts
  SCHUL TE ROTH & ZABEL LLP
  Sciemus Limited
  Scoggin International Fund Ltd.
  ScogginManagement LP
  Scoggin Worldwide Fund Ltd.
  ScotiaMSD
  Scotiabank de Puerto Rico
  Scottrade, Inc.
  Sculptor Capital LP (fik/a OZManagement LP)
  Sculptor Credit OpportunitiesMaster Fund, Ltd. (fik/a OZ Credit Opportunities Master Fund, Ltd.),
  Sculptor EnhancedMaster Fund, Ltd. (fik/a OZ Enhanced Mater Fund, Ltd.),
  Sculptor GC Opportunities Master Fund, Ltd. (fik/a OZ GC OpportunitiesMaster Fund, Ltd.)
  SculptorMaster Fund, Ltd. (fik/a OZ Master Fund, Ltd.),
  Sebastian Negron
  Securities & Exchange Commission
  Seda & Perez Ochoa, PSC
  SEDA & PEREZ-OCHOA, P.S.C.
  Segal Consulting
  Seguros Colon Colon, Inc.
  SE! Private Trust Company
  SE! Private Trust Company/C/O GWP
  SEIU Local 1199/Union General de Trabajadores
  SEIU Local 1996/Sindicato Puertoriqueno de Trabajadores y Trabajadores
  Semper lnnova Corporation
  Senate
  Senator Global OpportunityMaster Fund LP
  Senator Investment Group LP
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 Sepulvado & Maldonado, PSC
 Sepulvado Maldonado & Couret
 Serengeti Asset Management, LP
 Sergio Rodriguez
 Service Employees International Union
 Service Employees International Union and United Auto Workers International Union
 Service Group Consultant Inc.
 Servicio de Transportacion Juan Carlos Inc.
 Servicios Profesionales Integrados a la Salud, Inc.
 Servidores Publicos Unidos de Puerto Rico
 Servidores Publicos Unidos, AFSCME Council 95
 Sesco Technology Solutions, LLC
 Shalini Gupta
 Shearman & Sterling LLP
 Sheppard Mullin Richter & Hampton LLP
 Shindler Anderson & Goplerud, P.C.
 Sidley Austin LLP
 Siemens Corporation
 Siemens Transportation Partnership Puerto Rico, S.E.
 Sierra Club Puerto Rico, Inc.
 Sign Language Interpreters, Inc.
 Silver Point Capital Fund, L.P.
 Silver Point Capital Offshore Master Fund, L.P.
 Silver Point Capital, L.P.
 Silvia Batista Castresana
 Silvia Consuelo Blasini Batista
 Simpson Thacher & Bartlett LLP
 Sistema de Retiro de los Empleados de la Autoridad de Energia Electrica (SREAEE)
 Sistema Universidad Ana G Mendez
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  Skadden, Arps, Slate, Meagher & Floarn LLP
 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 Skanska USA Building Inc.
 SKY HIGH ELEVATORS CORP
  SL Liquidation Fund LP
  SL Puerto Rico Fund II LP
 SL Puerto Rico Fund LP
 Small Business Administration
 Socioeconomic Development of the Family Administration
 Socio-Economic Development Office
 Softek, Inc.
 Sola Ltd
 Solid Waste Authority
 Solomon Page
 Salus Alternative Asset Management LP
 Salus Opportunities Fund 5 LP
 Solymar Castillo Morales
 Somes, Inc.
 Sonia Ivette Carrasquillo Calderon
 Sophie Aalaei
 South Parcel of Puerto Rico, SE
 Southwest Securities, Inc.
 Special Claims Committee of the Financial Oversight and Management Board
 Special Communities Perpetual Trust
 Special Independent Prosecutor Panel
 SSB - Blackrock Institutional Trust
 SSB - Trust Custody
 SSB&T Co/Client Custody Services
 SSM & Associates, Inc.
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  St. James Security Services, LLC
  State Elections Commission
  State Historic Conservation Office
  State Historic Preservation Office
  State Insurance Fund Corporation
  State Office of Energy Public Policy
 State Street Bank & Trust/State Street TotalETF
 State Street Bank and Trust Company
 Statistics Institute of PR
 Stephen S. McMillin
 Stephens Inc.
 Stericycle
 Sterne, Agee & Leach, Inc.
 Stifel, Nicolaus & Company, Incorporated
 Stockcross Financial Services, Inc.
 Stoever Glass & Co.
 Stone Lion IE, a fund of Permal Account Platform ICAV
 Stone Lion L.P
 Stradling Yocca Carlson & Rauth, PC
 Strategic Income Fund-MMHF
 Stroock & Stroock & Lavan, LLP
 Stuart Dwork
 Sucesi6n Diaz Bonet compuesta por sus herederos
 Sucesion Francisco Xavier Gonzalez Goenaga
 Sucesion Mandry Mercado
 Sucesi6n Pastor Mandry Mercado
 Sucesi6n Sastre Wirshing
 SUCN Oscar Rodriguez Crespo
 Suiza Dairy Corporation
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 Super Asphalt Pavement Corporation
  Super Plastico, Inc.
 Superintendent of the Capitol
 Supreme Court
  Susman Godfrey LLP
  Suzette Abraham
 Suzette Abraham Vizcarrando
 Suzuki del Caribe, Inc.
 SV Credit, L.P.
  Sweney Cartwright Co
 Sylvia I. Martinez Calimano
 Syncora Capital Assurance, Inc.
 Syncora Guarantee Inc.
 T R C Companies
 Taconic Capital Advisors L.P.
 Taconic Capital Advisors, L.P.
 Taconic Master Fund 1.5 L.P.
 Taconic Opportunity Master Fund L.P.
 Tactical Equipment Consultants, Inc.
  Tallaboa Industrial Deveopment, Inc.
 Taller de Desarollo Infantil y Prescolar Chiquirimundi Inc.
 Tarnrio, Inc.
 TARGET ENGINEERINGS E
 Tasman Fund LP
 Tatito Transport Service Inc.
 Tax-Free Puerto Rico Fund II, Inc.
 Tax-Free Puerto Rico Fund, Inc.
 Tax-Free Puerto Rico Target Maturity Fund, Inc.
 TCM Capital
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  TD Ameritrade Clearing, Inc.
  TD Prime Services LLC
  Teachers' Retirement System
  TEC Contractors, LLC
  TEC General Contractors, Corp.
  Telecommunications Bureau
  Telecommunications Regulatory Board
  Telefonica Larga Distancia de Puerto Rico, Inc.
  Tens Development, L.L.C.
  Teresa N. Fortuna Garcia
  Teresa R. Miller
  Thamari Gonzalez Martinez
 the Asociaci6n de Maestros de Puerto Rico
 The Bank of New York Mellon
 The Bank of New York Mellon, As Trustee, Under the Trust Agreement Dated March I, 2015 Between
 the Puerto Rico Infrastructure Authority and the Bank of New York Mellon, and Fir Tree Inc. As
 Successor in Interest, To RBC Municipal Markets, LLC, As Owner Representative Under the Noteholder
 Agreement Dated March 1, 2015 Relating To Puerto Rico Infrastructure Authority Dedicated Tax
 Revenue Bond Anticipation Notes Series 2015
 The Bank of New York Mellon/FMS Bonds, Inc.
 The Bank of New York Mellon/Mellon Trust of New England, National Association
 The Bank of New York Mellon/Nomura Bank Int'! PLC
 The Bank of New York/FMSBonds, Inc.
 The Bank of New York/Popular Securities, Inc.
 The Bank of Nova Scotia
 The Belaval Burger Grandchildren Trust, represented by UBS Trust Company of Puerto Rico
 The Boston Consulting Group, Inc.
 The Canyon Value Realization Master Fund, L.P.
 The Children's Trust Fund
 The Estate of Daniela Moure
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  The Estate ofYesmin Galib Frau composed by Yesmin Marie, Lucas P., Maria Teresa and Maria Cristina
  Leonor Valdivieso Galib
  The Estates of Gabriel Fuentes Vazquez and Evangelina Benejam-Otero, Comprised by Gabriel, Jorge L.
  and Jose R. Fuentes-Benejam
  The Financial Attorneys, P.S.C.
  The Garffer Group of Legal Advisors, LLC
  The Hector L. Gonzalez Cruz Retirement Plan, represented by UBS Trust Company of Puerto Rico
  The Hefler Family Trust
  The Huntington National Bank
  The Jesus Golderos Trust
  The Law Offices of Andres W. Lopez, P.S.C.
 The Madeline Torres Figueroa Retirement Plan, Represented By UBS Trust Company of Puerto Rico
 The Northern Trust Company
 The Official Committee of Unsecured Creditors
 The Unitech Engineering Group, S.E.
  The Varde Skyway Master Fund, L.P.
 Thelma Vidal
 Thomas Quinn
  THOMAS RIVERA-SCHATZ
 Tilden Park Capital Management LP
 Tilden Park Investment Master Fund LP
 Timber Hill LLC
 Tito Ramirez Bus Service Inc.
 Tomas Correa Acevedo
 Toro, Colon, Mullet, Rivera & Sifre, P.S.C.
 Total Petroleum Puerto Rico Corp.
 Tourism Company
 Tradewinds Energy Barceloneta, LLC.
 Tradewinds Energy Vega Baja, LLC
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  Traditional Lottery
  Traffic Safety Commission
  Trafigura Argentina S.A.
  Trafigura Beheer B.V.
  Trafigura Limited
 Trafigura Trading LLC
 Transcore Atlantic, Inc.
 Transit Safety Commission
 Transportation and Public Works
 Transporte Escolar S S Inc.
 Transporte Sonne! Inc.
 Transporte Urbina Inc.
 Trent and Jodene Lareau Revocable Trust
 Trinity Metal Roof and Steel Structure Corp.
 Trinity Services I, LLC
 Triple - S Salud, Inc.
 Truenortb Corp.
 Tson-Kuang Wu and Mu-Niau Wu Tr, Wu Trust UA 04-27-1999
 U.S. Bank National Association as Trsutee
 U.S. Bank Trust National Association
 U.S. Department of Justice, Civil Division
 UBARRI & ROMAN LAW OFFICE
 UBS Financial Services Inc
 UBS Financial Services Inc.
 UBS Financial Services, Inc. of Puerto Rico
 UBS IRA Select Growth & Income Puerto Rico Fund
 UBS Securities LLC
 UBS Trust Company
 UBS Trust Company of Puerto Rico
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  Ultra Master LTD
  Ultra NB LLC
  Ulysses Offshore Fund, Ltd.
 Ulysses Partners, LP
  UMB Bank, National Association
  Unemployment Insurance Fund
  UNETE
  Union Bank & Trust Company
 Union Bank, N.A.
 UN1ON DE EMPLEADOS DE OFICINA COMERCIO Y RAMAS ANEXAS, PUERTOS
 UN1ON DE EMPLEADOS DE OFICINA Y PROFESIONALES DE LA AUTORIDAD DE EDIFICIOS
 PUBLICOS
 UN1ON DE EMPLEADOS PROFESIONALES INDEPENDIENTES
 Union de Medicos de la Corporacion de! Fonda de! Segura de! Estado Corp.
 Union de Trabajadores de la Industria Electrica y Riego
 Union De Trabajadores Trabajadores de La Industria Electrica Y Riego, Inc.
 Union Employees Office Commerce
 Union Holdings, Inc.
 UNION INDEPENDIENTE DE EMPLEADOS DE LA AUTORIDAD DE ACUEDUCTOS Y
 ALCANTARILLADOS
 UNION INSULAR DE TRABAJADORES INDUSTRIALES Y CONSTRUCCIONES ELECTRICAS
 INC.
 UN1ON NACIONAL DE EDUCADORES Y TRABAJADORES DE LA EDUCACION
 Union of Office Employees and Professionals of AEP
 Union of Professional Employees Independent
 United Auto Workers International Union
 United States Attornery for the Southern District of New York
 United States Department Of Agriculture - Rural Development
 United States Department of Justice
 United States District Court, District of Massachusetts
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  United States Postal Services
 United Surety & Indemnity Company
  Universal Care Corp. (Unicare)
 Universal Group, Inc.
 Universal Insurance Company
 Universal Life Insurance Company
  Universidad Central de! Caribe, Inc.
  Universidad Interamericana, Inc.
 University of Puerto Rico
 University of Puerto Rico Comprehensive Cancer Center
 UPR Comprehensive Cancer Center
 US Army Corps of Engineers
 US Attorney for the District of Puerto Rico
 US Bank National Association
 US Bank Trust, National Association
 US Department of Agriculture
 US Department of Commerce
 US Department of Education
 US Department of Health and Services
 US Department of Justice
 US Department of Labor
 US Trustee for the District of Puerto Rico
 USAA Invest Mgmt Co
 USAA Investment Management Company
 VAB Financial
 Valdes Ortiz Law Offices, PA
 Valentin Morales Camacho
 Valenzuela-Alvarado, LLC
 Valmont Industries, Inc.
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 Value Sales Corporation
 VAMOS Citizens' Concertacion Movement
 Vanguard Marketing Corporation
 Yarde Credit Partners Master, L.P.
 Yarde Investment Partners (Offshore) Master, L.P.
 Yarde Investment Partners, L.P.
 Yarde Partners, Inc.
 Vazquez Y Pagan Bus Line, Inc.
 Veronica Ferraiuoli Hornedo
 Veterans Advocate Office
 Victor Calderon Cestero
 Victor L. Ortiz Perez
 Victor M. Rivera
 Victor R. Merle Vargas
 Victor Santiago Frontera
 Vidal, Nieves & Bauza LLC
 VIIV Healthcare Puerto Rico, LLC
 Vilarino & Associates, LLC
 Vilma Teresa Torres Lopez
 Vilmarie Ayala Cruz
 Vinas Law Office, LLC
 Virgilio Fernando Acevedo Rivera
 Virginia Selden
 Vision Financial Markets LLC
 Vito! S.A.
 Vito!, Inc.
 Vivian Hernandez Vinas
 Vivian Purcell
 Viviana Ortiz Mercado
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  VMC Motor Corp.
  Vocational Rehabilitation Administration
  Voya Institutional Trust Company
  Voz Activa, Inc.
  VR Advisory Services, LID.
  VR Global Partners, L.P.
  Wachtell, Lipton, Rosen & Katz
  Wal-Mart Puerto Rico Inc.
  Walter Alomar Jimenez
  Walter Pomales
  Walter R. Martinez Rodriguez
  Warlander Asset Management, LP
  Warren Min
 Wedbush Securities Inc.
  WEG Electric Corp.
  Weil, Gotshal & Manges, LLP
  Weinstein-Baca!, Miller & Vega, P.S.C.
 Wells Fargo / Safekeep
 Wells Fargo Bank, N.A./Sig
 Wells Fargo Bank, National Association
 Wells Fargo Clearing Services LLC AKA or FKA First Clearing LLC
 Wells Fargo Municipal Bond Fund
 Wells Fargo Securities, LLC
 Wells Fargo Wisconsin Tax Free Fund
 Wells Fargo/SafeKeep
 Wesbanco Bank, Inc.
 West Corporation
 Western Surety Company and Continental Casualty Company
 WF Computer Services, Inc.
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  White & Case, LLP
  Whitebox Advisors LLC
  Whitebox Asymmetric Partners, LP
  Whitebox Asymmetric Partners, LP as Transferee of Syncora Guarantee Inc.
  Whitebox Caja Blance Fund, LP as Transferee of Syncora Guarantee Inc.
  Whitebox GT Fund, LP as Transferee of Syncora Guarantee Inc.
  Whitebox Institutional Partners, L.P.
 Whitebox MuitiStrategy Partners, L.P.
  Whitebox Multi-Strategy Partners, LP as Transferee of Syncora Guarantee Inc.
  Whitebox Term Credit Fund I L.P
  Whitefish Energy Holdings, LLC
  Whitefort Capital Master Fund, LP
  Wide Range Corp.
  Wilbert Lopez Moreno & Asociados
 Wilfredo Vazquez Olivencia
  William Blair & Company, L.L.C.
 William Cruz Soto
  William D. Dougan JR Ten WRAS
  William M. Vidal-Carvajal Law Office, P.S.C.
 William Rifkin
  William Rivera Transport Service Inc.
 William Santiago-Sastre, Esq.
 William Shuzman
 Williams & Jensen, PLLC
 Willkie Farr & Gallagher, LLP
 WILLKIE, FARR & GALLAGHER LLP
 Wilson Rivera Ortiz
 Windmar Renewable Energy SE
 Windmar Renewable Energy, Inc.
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  Winston & Strawn LLP
  Wollmuth Maher & Deutsch LLP
  Women's Advocate Office
  WorldNet Telecommunications, Inc.
  Wynndalco Enterprises, LLC
  Xerox Corporation
  Xiomara Bermudez Rios
  Xiomara Rivera-Cruz
  Yarnnarie Socarras
  Yarely Lugo Rosa
  Yohana De Jesus Berrios
 Yolanda Cano- Angeles
  Young Conaway Stargatt & Taylor, LLP
 Yvonne Baerga Varela
 Zoe Partners LP
 Zolfo Cooper, LLC
  Zoraida Bux6 Santiago
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                                                APPENDIXD
                          CONTRACTOR CERTTFTCATION REOJTTREMENT
  The following certification shall be provided to the Oversight Board by each Contractor under contracts
  submitted for review:

  I. The Contractor's subcontractor(s) in connection with the contract is (are) the following:

  2. Neither the Contractor nor any of its owners, directors, officials or employees, has agreed to share or
     give a percentage of the Contractor's compensation under the contract to, or otherwise compensate, any
     third party, whether directly or indirectly, in connection with the procurement, negotiation, execution
     or performance of the contract, except as follows:

      (Name of individual or firm, including names of principals or owners of the latter) (Principal terms and
      conditions of the compensation sharing arrangement)

 3. To the best knowledge of the signatory (after due investigation), no person has unduly intervened in
    the procurement, negotiation or execution of the contract, for its own benefit or that of a third person,
    in contravention of applicable law.

 4. To the best knowledge of the signatory (after due investigation), no person has: (i) offered, paid, or
    promised to pay money to; (ii) offered, given, or promised to give anything of value to; or (iii) otherwise
    influenced any public official or employee with the purpose of securing any advantages, privileges or
    favors for the benefit of such person in connection with the contract (such as the execution of a
    subcontract with Contractor, beneficial treatment under the contract, or the written or unwritten promise
    of a gift, favor, or other monetary or non-monetary benefit).

  5. Neither the Contractor, nor any of its owners, directors, officials or employees or, to the best of its
     knowledge (after due investigation), its representatives or sub-contractors, has required, directly or
     indirectly, from third persons to take any action with the purpose of influencing any public official or
     employee in connection with the procurement, negotiation or execution of the contract.

 The above certifications shall be signed by the Chief Executive Officer (or other officer with equivalent
 position or authority to issue such certifications) of the Contractor.

 In the event that a Contractor is not able to provide any of the above certifications, such Contractor shall
 provide a written statement setting forth the reasons therefor.



                                           [Signature Page FollowsJ
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     is true and correct:




                   _.z-�
     ContractN "lom�: CITIGROLP GLOBAL MARKETS 1:'l"C



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                                                    APPENDIXE
                                  FOMB EXPENSE REIMBURSEMENT

  Financial Oversight and Management Board for Pnerto Rico
  June 30, 2017


  Expense Reimbnrsement Policy
  1. Introduction

  The Board of Members of the Financial Oversight and Management Board for Puerto Rico ("the Board")
  recognizes that board members, officers, staff, and contractors* of the Board may be required to travel or
  incur in other expenses from time to time to conduct Board business.
 The Reimbursed Expenses Policy (the "Policy") is designed to govern the reimbursement of reasonable,
 defmed expenses incurred on authorized Board activities. Consequently, all reimbursed expenses must be
 consistent with a business objective and carried out in a timely and cost-effective marmer.
  This Policy applies to board members, officers, staff, and contractors* who incur authorized and approved
  travel and other expense items in the context of the Board's business. While exceptions are not normally
  permitted, there is clear recognition of certain special business needs. In any such exceptional situations,
  all board members, officers, staff, and contractors* are expected to apply a high degree of common sense
  and good judgment.
 2. Purpose of the Policy

 The purpose of this policy is to ensure that (a) adequate cost controls are in place, (b) travel and other
 expenditures are appropriate, and (c) to provide a uniform and consistent approach for the timely
 reimbursement of authorized expenses incurred by the Board. It is the policy of the Board to reimburse
 only reasonable and necessary expenses incurred by board members, officers, staff, and contractors.
 3. Principles of the Policy

 The Policy aims to provide a flexible framework for travel and other expenses based on the following
 principles:


 3.1      This Policy applies to board members, officers, staff, and contractors* undertaking travel other
          expenses on Board business and for the purposes of this Policy, the term "staff' shall mean
          employees of the Board.
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  3.2    It is the responsibility of board members, officers, staff, and contractors* to ensure the selection
         of the most direct and economical travel options and that all expenses are attributable to a valid
         Board business purpose.

  3.3    Board members, officers, staff, and contractors* shall be entitled to reimbursement of expenses
         on production of supporting vouchers and invoices meeting the requirements of an "Accountable
         Plan" provided under Regulation No. 8297 dated December 18, 2012 issued by the Puerto Rico
         Department of Treasury. No expense reimbursement will be allowed for amounts in excess of
         actual expenditures incurred. No expense reimbursement will be allowed for estimates of
         expenditures incurred. This includes coach-class airfare or train fare (or business class train fare if
         rates are comparable); and hotels and transportation (e.g. taxis).

  3.4    It is the responsibility of the Board members, officers, staff, and contractors* to obtain travel
         authorization from the Chairman of the Board, the Executive Director or Authorized Representative
         prior to organizing or incurring any travel costs [See Appendix A for Authorization Authority].
         Expense reimbursement is subject to having received prior authorization. Exceptions shall be made
         under the consideration of the Chairman, Executive Director or Authorized Representative.

 3.5     The use of video and telephone conferencing instead of travel should always be considered to
         reduce travel expenses.


 4. Travel Expenses


 4.1 Air Travel

 4.1.1   Costs for air travel will be reimbursed on an actual cost incurred basis.

 4.1.2   For all flights, board members, officers, staff, and contractors* are required to travel in a cabin class
         no higher than premium economy class and, when possible, the cheapest fare in this class.

 4.1.3   Flights should be booked to provide the best value/lowest cost and fit between cost and
         convenience. Board staff shall book flights through the Board's Executive Assistant. Board
         members may book flights through the Board's Executive Assistant or independently. Board
         contractors must book flights independently, though they are allowed to consult the Board's
         Executive Assistant on fares the board members, officers, and staff are using.

 4.1.4   The Board will not reimburse costs incurred due to deviations from the most direct routes taken for
         personal travel reasons. In such cases, if the Board purchased the ticket, the traveler must reimburse
         the Board for any additional costs over and above the authorized travel.

 4.1.5   Any alteration to original travel plans must be justified and approved in accordance with the
         Policy.
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  4.2 Train Travel

  4.2.1   The Board may reimburse travelers for their economy train fares or business class train fares when
          those fares are comparable to the equivalent, economy class airfare on the same route.

  4.2.2   Board staff shall book trains through the Board's Executive Assistant. Board Members may book
          trains through the Board's Executive Assistant or independently. Board contractors must book trains
          independently, though they are allowed to consult the Board's Executive Assistant on fares the board
          members, officers, and staff are using.

  4.3 Hotels and Lodging


  4.3.1   Accommodation costs may be reimbursed by the Board. Board members, officers, staff, and
          contractors should not exceed cost of accommodation per night published in the U.S. Government
          GSA Per Diem Rates (https://www.gsa.gov/perdiem), unless approved by the Chairman or his
          authorized representative.

  4.3.2   Board staff shall book hotels through the Board's Executive Assistant. Board members may book
          hotels through the Board's Executive Assistant or independently. Board contractors must book
          hotels independently, though they are allowed to consult the Board's Executive Assistant on fares
          the Board members, officers, and staff are using.


  4.4 Transportation

  4.4.1   Transportation costs during trips associated to Board business will be reimbursed. Board members,
          officers, and staff' can expense the following transportation costs: 1) transportation to and from the
          airport / train station and 2) transportation to and from the meeting location. Transportation costs
          cover taxi services or equivalent (e.g. Uber, Lyft or any other transportation means).


  4.5 Business Meals

 4.5.1    When travelling to a location other than the Board members, officers, staff, and contractors'* local
          city, business meals are reimbursable based on the following limits:

                       •   Breakfast: $15; Lunch: $25; Dinner: $40
                       •   Snack expenses are reimbursable when they replace a meal.

 4.5.2    If meals are provided during the meeting, only meals not provided can be expensed.


 5. Other Expenses

 5.1 Other expenses are reimbursable provided they are legitimate, necessary and reasonable expenses
     directly connected with or pertaining to the Board, such as office supplies, printing and reproduction,
     telephone calls, and messengers, among other.
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  6. Reimbursement of Expense

  6.1 Travel arrangements are authorized in advance through the completion and approval of a travel
      authorization email and the validation of a travel plan between the traveler and the designated approver
      [See Appendix AJ.

  6.2 Expenses are reimbursed through the completion, approval, and validation of expense report [See
      Appendix BJ that the members, officers, and staff must submit to the designated approver [See
      Appendix CJ.


  6.3 Expense claims should be submitted immediately following and, where possible, no more than 10 days
      after the completion of each trip, but at least a monthly.

  6.4 In rare circumstances, and on an exceptional basis, reimbursement in excess of stated limits may be
      provided when lodging options are not available below. In such rare circumstances, the need for higher
      reimbursement shall be indicated on the attached reimbursement form and justified in writing by the
      members, officers, and staff. Reimbursement will be limited to the following:

                       •   Lodging: average rate for available 3-star hotels listed for the applicable
                           metropolitan area on Expedia;

      The Chairman of the Board or his authorized representative will have sole discretion to approve or deny
      such expenditures.

  6.5 Receipts are required for all expenditures billed, such as airfare and hotel charges. No expense in excess
      of $25.00 will be reimbursed to Board members, officers, staff and contractors unless the individual
      requesting reimbursement submits with the Expense Report written itemized receipts from each
      contractor (not a credit card receipt or statement) showing the contractor's name, a description of the
      services provided (ifnot otherwise obvious), the date, and the total expenses. !fa receipt is not available,
      a full explanation of the expense and the reason for the missing receipt is required.

 6.6 Alcoholic beverages will not be reimbursed under any circumstance.
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  APPENDIX A: Authorization Authority


   Expense to be Incurred By:           Authorization From:
   Board Member                         Chairman or Authorized Representative
   Board Staff                          Executive Director or Authorized Representative
   Board contractors                    Executive Director or Authorized Representative
   Executive Director                   Chairman or Authorized Representative
   Chairman                             NIA
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  APPENDIX B: Expense Report

  Financial Management and Oversight Board for Puerto Rico

  To be completed by members, officers, and staff and submitted to designated approver

                                       AIR  GROUND                                               TOTAL
  DATE         DESCRIPTION                                     HOTEL        MEALS        OTHER
                                       FARE FARE                                                 (1)
                                                                                                  $    -
                                                                                                  $    -
                                                                                                  $    -
                                                                                                  $    -
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                                                                                                  $    -
                                                                                                  $    -
                                                                                                  $    -
                                                                                                  $    -
                                                                                                  $    -
  TOTAL                                 $        $              $           $            $        $    -


  Signature: _____________                                                               Date: ________

  Approved by: _________                                                                 Date: ________

  (1) SUBMIT RECEIPTS FOR THE AMOUNTS TO BE REIMBURSED.
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  APPENDIX C: Expense Report Approval Anthority




   Expense Incnrred By:                        Expense Approved By:
   Board Member                                Chairman or Authorized Representative
   Board Personnel                             Executive Director or Authorized Representative
   Board Advisors                              Executive Director or Authorized Representative
   Executive Director                          Chairman or Authorized Representative
   Chairman                                    Executive Director or Authorized Representative




                                  [Signature Page Follows]
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